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THIS OBJECTION SEEKS TO MODIFY CERTAIN FILED PROOFS OF CLAIM.
PARTIES RECEIVING THIS NOTICE OF THE DEBTORS’ ELEVENTH OMNIBUS
CLAIMS OBJECTION TO PROOFS OF CLAIM SHOULD REVIEW THE OMNIBUS
OBJECTION TO SEE IF THEIR NAME(S) AND/OR CLAIM(S) ARE LOCATED IN THE
OMNIBUS OBJECTION AND/OR THE EXHIBIT(S) AND SCHEDULE(S) ATTACHED
THERETO TO DETERMINE WHETHER THIS OBJECTION AFFECTS THEIR
CLAIM(S).

IF YOU HAVE QUESTIONS, PLEASE CONTACT GRUPO AEROMÉXICO’S COUNSEL,
DAVIS POLK & WARDWELL LLP, AT aeromexicoclaims@dpw.com, RICHARD J.
STEINBERG (richard.steinberg@davispolk.com or +1-212-450-4362), OR ERIK P.
JERRARD (+1-212-450-4769).


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                                 Chapter 11

GRUPO AEROMÉXICO, S.A.B. de C.V., et al.,                              Case No. 20-11563 (SCC)

                  Debtors.1                                            (Jointly Administered)


NOTICE OF HEARING ON DEBTORS’ ELEVENTH OMNIBUS CLAIMS OBJECTION
 TO PROOFS OF CLAIM (FOREIGN CURRENCY AND WRONG DEBTOR CLAIMS)

         PLEASE TAKE NOTICE that, on July 8, 2021, Grupo Aeroméxico, S.A.B. de C.V.

(“Grupo Aeroméxico”) and its affiliates that are debtors and debtors in possession in the above-

captioned chapter 11 cases (collectively, the “Debtors”) filed their Eleventh Omnibus Claims

Objection to Proofs of Claim (Foreign Currency and Wrong Debtor Claims) (the “Objection”) with

the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy

Court”).

         The Objection is annexed hereto as Exhibit A. The Objection requests that the Bankruptcy

1
         The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
         jurisdiction, are as follows: Grupo Aeroméxico, S.A.B. de C.V. 286676; Aerovías de México, S.A. de C.V.
         108984; Aerolitoral, S.A. de C.V. 217315; and Aerovías Empresa de Cargo, S.A. de C.V. 437094-1. The
         Debtors’ corporate headquarters is located at Paseo de la Reforma No. 243, piso 25 Colonia Cuauhtémoc,
         Mexico City, C.P. 06500.
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Court modify one or more of your Claims2 listed on Schedule 1 or Schedule 2 to Exhibit 1 of the

Objection annexed hereto on the grounds that such Claims have been (i) denominated in a currency

other than United States dollars or Mexican pesos and/or (ii) filed against the wrong Debtor.

       PLEASE TAKE FURTHER NOTICE that the Court-Ordered Omnibus Claims Hearing

Procedures [ECF No. 904] (the “Omnibus Claims Hearing Procedures”), annexed hereto as

Exhibit B, apply and govern the Objection to your Proof(s) of Claim. The Omnibus Claims Hearing

Procedures provide for certain mandatory actions by a claimant within certain time periods.

Therefore, please review the Omnibus Claims Hearing Procedures carefully. Failure to comply with

the Omnibus Claims Hearing Procedures may result in the modification of a Proof of Claim without

further notice to a claimant.

       If you do NOT oppose the modification of your Claim(s) listed on Schedule 1 or Schedule 2

to Exhibit 1 of the Objection, then you do NOT need to file a written response to the Objection and

you do NOT need to appear at the hearing.

       If you DO oppose the modification of your Claim(s) listed on Schedule 1 or Schedule 2 to

Exhibit 1 of the Objection, then you MUST file with the Bankruptcy Court and serve on the parties

listed below a written response to the Objection (a “Response”) so that it is received on or before

August 9, 2021, at 4:00 p.m. (prevailing Eastern Time) (the “Response Deadline”).

       Your Response, if any, must contain at a minimum the following: (i) a caption setting forth

the name of the Bankruptcy Court, the names of the Debtors, the case number, and title of the

Objection to which the response is directed; (ii) the name of the claimant and description of the basis

for the amount of the Claim; (iii) a concise statement setting forth the reasons why the Claim should

not be modified for the reasons set forth in the Objection, including, but not limited to, the specific
2
       Each capitalized term used herein but not otherwise defined herein shall have the meaning ascribed to it in the
       Objection.



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factual and legal bases upon which you will rely in opposing the Objection; (iv) all documentation or

other evidence of the Claim, to the extent not included with the Proof of Claim previously filed with

the Bankruptcy Court, upon which you will rely in opposing the Objection; (v) the address(es) to

which the Debtors must return any reply to your Response, if different from that presented in the

Proof of Claim; and (vi) the name, address, and telephone number of the person (which may be you

or your legal representative) possessing ultimate authority to reconcile, settle, or otherwise resolve

the Claim on your behalf.

       The Bankruptcy Court will consider a Response only if the Response is timely filed, served,

and received. A Response will be deemed timely filed, served, and received only if prior to the

Response Deadline, the Response is (a) filed electronically with the Bankruptcy Court on the docket

of In re Grupo Aeroméxico, S.A.B. de C.V., et al., Case No. 20-11563 (SCC), in accordance with the

Bankruptcy Court’s General Order M-399 (available on the Bankruptcy Court’s website at

http://www.nysb.uscourts.gov), by registered users of the Bankruptcy Court’s electronic case filing

system, (b) sent to the chambers of the Honorable Judge Shelley C. Chapman, United States

Bankruptcy Court, One Bowling Green, New York, New York 10004; and (c) served (via email or

otherwise) so as to be actually received on or before the Response Deadline upon (i) Davis Polk &

Wardwell LLP, 450 Lexington Avenue, New York, New York 10017 (Attn: Timothy Graulich

(timothy.graulich@davispolk.com), Stephen D. Piraino (stephen.piraino@davispolk.com), Erik P.

Jerrard (erik.jerrard@davispolk.com), and Richard J. Steinberg (richard.steinberg@davispolk.com)),

counsel to the Debtors; and (iii) Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New York,

New York 10019 (Attn: Brett H. Miller (bmiller@willkie.com), Todd M. Goren

(tgoren@willkie.com), Craig Damast (cdamast@willkie.com), and Debra M. Sinclair




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(dsinclair@willkie.com)), counsel to the Official Committee of Unsecured Creditors appointed in

these cases.

       Except as otherwise permitted under the Omnibus Claims Hearing Procedures, a hearing (the

“Hearing”) will be held on August 12, 2021, at 10:00 a.m. (prevailing Eastern Time), to consider

the Objection. The Hearing will be held in the United States Bankruptcy Court for the Southern

District of New York. If you file a written Response to the Objection, you should plan to appear at

the Hearing. The Debtors, however, reserve the right to continue the Hearing on the Objection with

respect to your claim(s). If the Debtors do continue the Hearing with respect to your Claim(s), then

the Hearing will be held at a later date. If the Debtors do not continue the Hearing with respect to

your Claim(s), then the Hearing on the Objection will be conducted on the above date.

       The Debtors have the right to further object to your Claim(s) listed on Schedule 1 or

Schedule 2 to Exhibit 1 of the Proposed Order (or to any other Claims you may have filed) at a later

date on grounds not asserted in the Objection. You will receive a separate notice of any such

objections.

       Responding parties shall attend the Hearing telephonically so long as General Order M-543 is

in effect or unless otherwise ordered by the Bankruptcy Court. You may participate in the Hearing

telephonically by making arrangements through CourtSolutions, LLC (www.court-solutions.com).

Instructions to register for CourtSolutions, LLC are attached to General Order M-543.3

       If you wish to view the complete Objection, you can do so for free at

https://dm.epiq11.com/aeromexico. CLAIMANTS SHOULD NOT CONTACT THE CLERK

OF THE BANKRUPTCY COURT TO DISCUSS THE MERITS OF THEIR CLAIMS.

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       A copy of General Order M-543 can be obtained by visiting http://www.nysb.uscourts.gov/news/court-
       operations-under-exigent-circumstances-created-covid-19.



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Dated:   July 8, 2021
         New York, New York


                                      DAVIS POLK & WARDWELL LLP

                                      By: /s/ Timothy Graulich
                                      450 Lexington Avenue
                                      New York, New York 10017
                                      Telephone: (212) 450-4000
                                      Facsimile: (212) 701-5800
                                      Marshall S. Huebner
                                      Timothy Graulich
                                      James I. McClammy
                                      Stephen D. Piraino (admitted pro hac vice)

                                      Counsel to the Debtors
                                      and Debtors in Possession




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                                    Exhibit A

                                    Objection
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DAVIS POLK & WARDWELL LLP
450 Lexington Avenue
New York, New York 10017
Telephone: (212) 450-4000
Facsimile: (212) 701-5800
Marshall S. Huebner
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James I. McClammy
Stephen D. Piraino (admitted pro hac vice)
Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                              Chapter 11

GRUPO AEROMÉXICO, S.A.B. de C.V., et al.,                           Case No. 20-11563 (SCC)

                      Debtors.1                                     (Jointly Administered)


    DEBTORS’ ELEVENTH OMNIBUS CLAIMS OBJECTION TO PROOFS OF CLAIM
             (FOREIGN CURRENCY AND WRONG DEBTOR CLAIMS)

                                        ***
     TO THE CLAIMANTS LISTED ON SCHEDULE 1 AND SCHEDULE 2 ATTACHED TO THE
     PROPOSED ORDER (AS DEFINED HEREIN): YOUR RIGHTS MAY BE AFFECTED BY THIS
     OBJECTION (AS DEFINED HEREIN) AND BY ANY FURTHER OBJECTION(S) THAT MAY BE
     FILED BY THE DEBTORS. THE RELIEF SOUGHT HEREIN IS WITHOUT PREJUDICE TO
     THE DEBTORS’ RIGHTS TO PURSUE FURTHER SUBSTANTIVE OR NON-SUBSTANTIVE
     OBJECTIONS AGAINST THE CLAIMS LISTED ON SCHEDULE 1 AND SCHEDULE 2 TO THE
     PROPOSED ORDER. CLAIMANTS RECEIVING THIS OBJECTION SHOULD LOCATE THEIR
     NAMES AND CLAIMS ON SCHEDULE 1 AND SCHEDULE 2 TO THE PROPOSED ORDER.
                                        ***

         Grupo Aeroméxico S.A.B. de C.V. (“Grupo Aeroméxico”) and its affiliates that are debtors

and debtors in possession in these proceedings (collectively, the “Debtors”) hereby file this Debtors’

Eleventh Omnibus Claims Objection to Proofs of Claim (Foreign Currency and Wrong Debtor

1
         The Debtors in these cases, along with each Debtor’s registration number in the applicable jurisdiction, are as
         follows: Grupo Aeroméxico, S.A.B. de C.V. 286676; Aerovías de México, S.A. de C.V. 108984; Aerolitoral,
         S.A. de C.V. 217315; and Aerovías Empresa de Cargo, S.A. de C.V. 437094-1. The Debtors’ corporate
         headquarters is located at Paseo de la Reforma No. 243, piso 25 Colonia Cuauhtémoc, Mexico City, C.P.
         06500.
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Claims) (the “Objection”), pursuant to the Order Approving (I) Omnibus Claims Objection

Procedures, (II) Omnibus Claims Settlement Procedures and (III) Omnibus Claims Hearing

Procedures [ECF No. 904] (the “Claims Objection Procedures Order”). This Objection is

supported by the Declaration of Ricardo Javier Sánchez Baker in Support of the Debtors’ Eleventh

Omnibus Claims Objection to Proofs of Claim (Foreign Currency and Wrong Debtor Claims) (the

“Sánchez Declaration”), attached hereto as Exhibit 2 and incorporated herein by reference. In

further support of the Objection, the Debtors respectfully state as follows:

                                              Relief Requested

        1.      By this Objection, and pursuant to sections 105 and 502 of title 11 of the United

States Code (the “Bankruptcy Code”) and rule 3007 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and the Claims Objections Procedures Order, the Debtors seek entry of

an order, substantially in the form attached hereto as Exhibit 1 (the “Proposed Order” and, if

entered, the “Order”), modifying each of the claims identified (i) on Schedule 1 to the Proposed

Order (the “Foreign Currency Claims”) and (ii) on Schedule 2 to the Proposed Order (the “Wrong

Debtor Claims”), as set forth therein.2

                                          Jurisdiction and Venue

        2.      The United States Bankruptcy Court for the Southern District of New York (the

“Court”) has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334, and the

Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.). This is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2) and, pursuant to Bankruptcy Rule 7008, the Debtors

consent to entry of a final order by the Court in connection with this Objection to the extent that it is




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        The schedules attached to the Proposed Order are incorporated herein by reference.



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later determined that the Court, absent consent of the parties, cannot enter a final order or judgment

consistent with Article III of the United States Constitution.

       3.      The legal predicates for the relief requested herein are sections 105 and 502 of the

Bankruptcy Code, and Bankruptcy Rule 3007.

       4.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            Background

A.     General Background

       5.      On June 30, 2020 (the “Petition Date”), the Debtors each commenced in this Court a

voluntary case (the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code. The

Debtors are authorized to continue to operate their businesses and manage their properties as debtors

in possession pursuant to Bankruptcy Code §§ 1107(a) and 1108.

       6.      The Debtors’ Chapter 11 Cases are being jointly administered for procedural purposes

only pursuant to Bankruptcy Rule 1015(b).

       7.      On July 13, 2020, the United States Trustee formed an Official Committee of

Unsecured Creditors (the “Creditors’ Committee”) in the Chapter 11 Cases. No trustee or

examiner has been appointed in the Chapter 11 Cases.

       8.      The Court entered a (i) Final Order Authorizing (I) Debtors to Honor Prepetition

Obligations to Customers and Related Third Parties and to Otherwise Continue Customer

Programs, (II) Relief from Stay to Permit Setoff in Connection with the Customer Programs and

(III) Financial Institutions to Honor and Process Related Checks and Transfers [ECF No. 205] (the

“Customer Programs Order”); (ii) Final Order Authorizing (I) Debtors to Pay Certain Prepetition

Taxes, Governmental Assessments and Fees and (II) Financial Institutions to Honor and Process

Related Checks and Transfers on July 29, 2020 [ECF No. 206] (the “Taxes Order”); (iii) Final



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Order Authorizing (I) Debtors to (A) Pay Prepetition Wages, Salaries, Employee Benefits and Other

Compensation and (B) Maintain Employee Benefits Programs and Pay Related Administrative

Obligations, (II) Employees and Retirees to Proceed With Outstanding Workers’ Compensation

Claims And (III) Financial Institutions to Honor and Process Related Checks and Transfers on July

30, 2020 [ECF No. 216] (the “Wages Order”); and (iv) Final Order Authorizing (I) Payment of

Certain Prepetition Claims of Critical Vendors and Foreign Vendors and (II) Financial Institutions

to Honor and Process Related Checks and Transfers on August 20, 2020 [ECF No. 309] (the

“Critical Vendors Order” and together with the Customer Programs Order, Taxes Order, and

Wages Order, the “First Day Orders”).

       9.      Detailed information regarding the Debtors’ business, capital structure, and the

circumstances leading to the commencement of these Chapter 11 Cases, is set forth in the

Declaration of Ricardo Javier Sánchez Baker in Support of the Debtors’ Chapter 11 Petitions and

First Day Pleadings [ECF No. 20], filed with the Court on the Petition Date.

B.     Claims Resolution Process in the Chapter 11 Cases

       10.     On July 2, 2020, the Court entered an Order Authorizing Debtors to Retain and

Employ Epiq Corporate Restructuring, LLC as Claims and Noticing Agent Nunc Pro Tunc to the

Petition Date [ECF No. 47], thereby appointing Epiq Corporate Restructuring, LLC (“Epiq”) as the

Debtors’ claims and noticing agent in these Chapter 11 Cases.

       11.     On August 25, 2020, the Debtors filed Grupo Aeroméxico’s schedules of assets and

liabilities and its statement of financial affairs [ECF Nos. 326–33], along with the schedules and

statements of the remaining Debtors (collectively, the “Chapter 11 Schedules” and “Statements,”

respectively).3 On December 17, 2020, the Debtors filed amendments to certain of Grupo


3
       The Chapter 11 Schedules and Statements of each Debtor were filed on their respective individual docket. See


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Aeroméxico’s Chapter 11 Schedules [ECF Nos. 737–40], along with amendments to certain Chapter

11 Schedules of the other Debtors.4 On January 15, 2021, Grupo Aeroméxico filed additional

amendments to certain Chapter 11 Schedules [ECF Nos. 808–10].

       12.     On November 18, 2020, the Court entered an Order (I) Establishing Deadline for

Filing Proofs of Claim and Procedures Relating Thereto and (II) Approving the Form and Manner

of Notice Thereof [ECF No. 648] (the “Bar Date Order”) establishing January 15, 2021 at 5:00 p.m.

(prevailing Pacific Time) as the General Bar Date (as defined in the Bar Date Order) (the “Bar

Date”).

       13.     On December 11, 2020, Epiq duly served the Notice of Deadline Requiring Filing of

Proofs of Claim on or Before January 15, 2021 (the “Bar Date Notice”). See Bowdler Aff., ECF

No. 778. Between December 14, 2020 and December 16, 2020, the Debtors caused the Bar Date

Notice to be published in the New York Times International Edition, the New York Times, and the

Wall Street Journal. See Noblesala Aff., ECF No. 759; Noblesala Aff., ECF No. 760; Bell Aff.,

ECF No. 761.

       14.     In the ordinary course of business, the Debtors maintain books and records (the

“Book and Records”) that reflect, among other things, the Debtors’ liabilities and the amounts

thereof owed to their creditors.

       15.     The Debtors’ claims register (the “Claims Register”), prepared and maintained by

Epiq, reflects that approximately 6,053 proofs of claim (collectively, the “Proofs of Claim”) have

been filed in the Chapter 11 Cases asserting claims against the Debtors (each a “Claim,” and

       In re Aerovías de México, S.A. de C.V., No. 20-11561, ECF Nos. 6–7; In re Aerolitoral, S.A. de C.V., No. 20-
       11565, ECF Nos. 6–7; In re Aerovías Empresa de Cargo, S.A. de C.V., No. 20-11566, ECF Nos. 6–7.
4
       These amendments were filed on each Debtor’s respective individual docket. See In re Aerovías de México,
       S.A. de C.V., No. 20-11561, ECF Nos. 10–11; In re Aerolitoral, S.A. de C.V., No. 20-11565, ECF Nos. 10–11;
       In re Aerovías Empresa de Cargo, S.A. de C.V., No. 20-11566, ECF Nos. 10–11.



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collectively, the “Claims”). The Debtors and their advisors are comprehensively reviewing and

reconciling all Claims, including both the Claims listed on the Schedules (the “Scheduled Claims”)

and the Claims asserted in the Proofs of Claim (including any supporting documentation) filed in the

Chapter 11 Cases. The Debtors and their advisors are also comparing the Claims asserted in the

Proofs of Claims with the Debtors’ Books and Records to determine the validity of the asserted

Claims.

       16.     This reconciliation process includes identifying particular categories of Claims that

the Debtors believe should be reduced, reclassified, disallowed, or expunged. To avoid a possible

double recovery or otherwise improper recovery by claimants, the Debtors will continue to file

omnibus objections to such categories of Claims if and where warranted. This Objection is one such

omnibus objection.

       17.     On February 17, 2021, the Court entered the Claims Objection Procedures Order. On

March 16, 2021, the Debtors filed their First Omnibus Claims Objection to Proofs of Claim

(Satisfied Claims) [ECF No. 985], Second Omnibus Claims Objection to Proofs of Claim (Satisfied

Claims) [ECF No. 986], and Third Omnibus Claims Objection to Proofs of Claim (Amended and

Duplicate Claims) [ECF No. 987]. On April 16, 2021, the Debtors filed their Fourth Omnibus

Claims Objection to Proofs of Claim (Satisfied Claims) [ECF No. 1074] and Fifth Omnibus Claims

Objection to Proofs of Claim (Amended and Duplicate Claims) [ECF No. 1075]. The Court

subsequently entered orders granting each of these objections [ECF Nos. 1086–87, 1102, 1207–08].

On June 3, 2021, the Debtors filed their Sixth Omnibus Claims Objection to Proofs of Claim

(Satisfied Claims and Incorrectly Classified Claims) [ECF No. 1265] and Seventh Omnibus Claims

Objection to Proofs of Claim (Wrong Debtor Claims) [ECF No. 1266].

       18.     The Debtors submit that this Objection, and the notice provided to claimants in



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connection hereto, are consistent with the Claims Objection Procedures Order, the Bankruptcy Code,

and the Bankruptcy Rules.

                                            Basis for Relief

        19.     Pursuant to section 101 of the Bankruptcy Code, a creditor holds a claim against a

bankruptcy estate only to the extent that (a) it has a “right to payment” for the asserted liabilities and

(b) the claim is otherwise allowable. 11 U.S.C. §§ 101(5) and 101(10).

        20.     When asserting a claim against a bankrupt estate, a claimant must allege facts that, if

true, would support a finding that the debtor is legally liable to the claimant. See In re Lehman Bros.

Holdings, Inc., 602 B.R. 564, 574 (Bankr. S.D.N.Y. 2019); In re Int’l Match Corp., 69 F.2d 73, 76

(2d Cir. 1934) (finding that a proof of claim should at least allege facts from which legal liability can

be seen to exist). Where the claimant alleges sufficient facts to support its claim, its claim is

afforded prima facie validity. See In re Lehman Bros., 602 B.R. at 574. A party wishing to dispute

such a claim must produce evidence in sufficient force to negate the claim’s prima facie validity.

See In re Dreier LLP, 544 B.R. 760, 766 (Bankr. S.D.N.Y. 2016), aff’d, No. 08-15051 (SMB), 2016

WL 3920358 (S.D.N.Y. July 15, 2016), aff’d, 683 F. App’x 78 (2d Cir. 2017) (quoting Creamer v.

Motors Liquidation Co. GUC Trust (In re Motors Liquidation Co.), No. 12 CIV. 6074 (RJS), 2013

WL 5549643, at *3 (S.D.N.Y. Sept. 26, 2013) (in turn quoting In re Allegheny Int’l, Inc., 954 F.2d

167, 173 (3d Cir. 1992))). In practice, the objecting party must produce evidence that would refute

at least one of the allegations essential to the claim’s legal sufficiency. See In re Dreier, 544 B.R. at

766. Once the objecting party produces such evidence, the burden shifts back to the claimant to

prove the validity of his or her claim by a preponderance of the evidence. See id.

        21.     A court should not deem a claim to be allowable if it is “unenforceable against the

debtor and property of the debtor, under any agreement or applicable law.” 11. U.S.C. § 502(b)(1).



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A debtor may file an omnibus claims objection if all the claims being objected to fall under one of

several listed categories as described in the Bankruptcy Rules and the Claims Objection Procedures

Order. See Fed. R. Bankr. P. 3007(d); Claims Obj. Proc. Order, ¶ 2(a), ECF No. 904 (providing

additional bases under which the Debtors may file omnibus claim objections).

                                            Objection

A.     Foreign Currency Claims

       22.     The Debtors object to the Foreign Currency Claims and request that each such Claim

be converted to United States dollars as set forth on Schedule 1 to the Proposed Order, as such

Claims were asserted in a currency other than United States dollars or Mexican pesos.

       23.     The Claims Objection Procedures Order authorizes the Debtors to file omnibus claims

objections to Claims filed in a currency other than United States dollars or Mexican Pesos. Claims

Obj. Proc. Order, ¶ 2(a)(iv). Nonetheless, through this Objection, the Debtors are not seeking to

disallow the Foreign Currency Claims. Rather, the Debtors seek to convert such Claims to United

States dollars by first converting such Claims to Mexican pesos, and then converting each such

Claim from Mexican pesos to United States dollars, with each conversion based on the applicable

conversion rate in place on the Petition Date from Banco de Mexico (Central Bank), as provided for

in the Bar Date Order. See Bar Date Order, ¶ 8(c), n.4 (“Where a claim has been denominated in

Mexican Pesos on a Proof of Claim, the Debtors will convert such claim to one calculated in legal

tender of the United States based upon the conversion rate in place as of the Petition Date from

Banco de Mexico (Central Bank).”).

       24.     Accordingly, the Debtors respectfully request that the Court modify the amount of

each of the Foreign Currency Claims to reflect a Claim in United States dollars as set forth on

Schedule 1 to the Proposed Order, in the corresponding row labeled “Modified Claim.”



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B.     Wrong Debtor Claims

       25.      The Debtors object to the Wrong Debtor Claims listed on Schedule 2 to the Proposed

Order, as they were each filed against the incorrect Debtor according to the Debtors’ Books and

Records, and request that each Wrong Debtor Claim be modified as Claims against the proper

Debtor(s).

       26.      A court should not deem a claim to be allowable if it is “unenforceable against the

debtor and property of the debtor, under any agreement or applicable law.” 11 U.S.C. § 502(b)(1).

Moreover, the Claims Objection Procedures Order authorizes the Debtors to file omnibus claims

objections to claims “filed against…the wrong Debtor.” Claims Obj. Proc. Order, ¶ 2(a)(iii).

       27.      After analyzing each of the Wrong Debtor Claims, and reviewing the Books and

Records, the Debtors have determined that the Wrong Debtor Claims have each been filed against

the incorrect Debtor. In order to preserve the integrity and accuracy of the Claims Register, and to

avoid claimants from improperly receiving recoveries on a claim against the incorrect Debtor, the

Debtors seek to modify the Wrong Debtor Claims by reassigning the Claim from the Debtor against

which such claim was originally filed to the Debtor(s) identified in the “Modified Claim” row

applicable thereto on Schedule 2 to the Proposed Order.5




5
       Certain of the Wrong Debtor Claims were also initially asserted in a currency other than United States dollars.
       By this Objection, and as set forth in Schedule 2 to the Proposed Order, the Debtors also seek to convert such
       Claims to United State dollars using the methodology described in the previous section.



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                                    Separate Contested Matters

        28.    Each of the Claims and the Objection with respect thereto constitutes a separate

contested matter as contemplated by Bankruptcy Rule 9014. The Debtors request that any order

entered by this Court with respect to a request for modification herein shall be deemed a separate

order with respect to each Claim.

                               Response to Omnibus Objections

        29.    To contest this Objection, a claimant must file and serve a written response to this

Objection (a “Response”) so that it is received no later than the deadline set forth in the

accompanying notice (the “Response Deadline”). All Responses shall be filed electronically with

the Court on the docket of In re Grupo Aeroméxico, S.A.B. de C.V., et al., Case No. 20-11563 (SCC),

in accordance with the Court’s General Order M-399 (available on the Court’s website at

http://www.nysb.uscourts.gov), by registered users of the Court’s electronic case filing system, and

served (via email or otherwise) so as to be actually received on or before the Response Deadline

upon:

                       Davis Polk & Wardwell LLP
                       450 Lexington Avenue
                       New York, New York 10017
                       Attn: Timothy Graulich (timothy.graulich@davispolk.com)
                              Stephen D. Piraino (stephen.piraino@davispolk.com)
                              Erik P. Jerrard (erik.jerrard@davispolk.com)
                              Richard J. Steinberg (richard.steinberg@davispolk.com)
                       Counsel to the Debtors
                       -and-
                       Willkie Farr & Gallagher LLP
                       787 Seventh Avenue
                       New York, New York 10019
                       Attn: Brett H. Miller (bmiller@willkie.com)
                              Todd M. Goren (tgoren@willkie.com)
                              Craig Damast (cdamast@willkie.com)
                              Debra M. Sinclair (dsinclair@willkie.com)
                       Counsel to the Creditors’ Committee.


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       30.     Every Response to this Objection must contain, at a minimum, the following

information:

               a.       A caption setting forth the name of the Bankruptcy Court, the names of the
                        Debtors, the case number, and title of the Objection to which the response is
                        directed;

               b.       The name of the claimant and a description of the basis for the amount of the
                        Claim;

               c.       A concise statement setting forth the reasons why the Claim should not be
                        reclassified for the reasons set forth in the Objection, including, but not
                        limited to, the specific factual and legal bases upon which will be relied on in
                        opposing the Objection;

               d.       All documentation or other evidence of the Claim, to the extent not included
                        with the Proof of Claim previously filed with the Bankruptcy Court, upon
                        which will be relied on in opposing the Objection; and

               e.       The address(es) to which the Debtors must return any reply to the Response,
                        if different from that presented in the Proof of Claim; and

               f.       The name, address, and telephone number of the person (which may be the
                        claimant or their legal representative) possessing ultimate authority to
                        reconcile, settle, or otherwise resolve the Claim on the claimant’s behalf.

       31.     If a claimant fails to file and serve a timely Response by the Response Deadline, the

Debtors may present to the Court an appropriate order modifying their Claim(s), without further

notice or a hearing.

                                       Reservation of Rights

       32.     The Debtors expressly reserve the right to amend, modify, or supplement this

Objection, including, without limitation, to modify the currency associated with each Claim set forth

on the schedule(s) attached to the Proposed Order. The Debtors further reserve their right to object

to each of the Foreign Currency Claims and Wrong Debtor Claims on any other grounds that the

Debtors discover or elect to pursue. The Debtors reserve their right to assert substantive and/or one

or more additional non-substantive objections to the Claims at a later time.


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       33.     Notwithstanding anything contained in this Objection, or the exhibits or schedules

attached hereto, nothing herein shall be construed as a waiver of any rights that the Debtors may

have to (i) commence avoidance actions under the applicable sections of the Bankruptcy Code,

including, but not limited to, sections 547 and 548 of the Bankruptcy Code, against the claimants

subject to this Objection, (ii) enforce the Debtors’ rights of setoff against the claimants relating to

such avoidance actions, or (iii) seek disallowance pursuant to section 502(d) of the Bankruptcy Code

of Claims of the claimants that are subject to such avoidance actions.

                                               Notice

       34.     Notice of this Objection will be given to (i) the United States Trustee for the Southern

District of New York; (ii) each of the parties listed on Schedule 1 and Schedule 2 to the Proposed

Order; (iii) each of the parties listed in paragraph 2(h) of the Claims Objection Procedures Order;

and (iv) all parties requesting notice pursuant to Bankruptcy Rule 2002. The Debtors submit that,

under the circumstances, no other or further notice is required.

                                         No Prior Request

       35.     The Debtors have not previously sought the relief requested herein from the Court or

any other court.

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                 WHEREFORE, the Debtors respectfully request entry of the Proposed Order,

substantially in the form attached hereto as Exhibit 1, granting the relief requested herein, and such

other and further relief as the Court deems just and proper.


Dated:   July 8, 2021
         New York, New York

                                               DAVIS POLK & WARDWELL LLP

                                               By: /s/ Timothy Graulich

                                               450 Lexington Avenue
                                               New York, New York 10017
                                               Telephone: (212) 450-4000
                                               Facsimile: (212) 701-5800
                                               Marshall S. Huebner
                                               Timothy Graulich
                                               James I. McClammy
                                               Stephen D. Piraino (admitted pro hac vice)



                                               Counsel to the Debtors
                                               and Debtors in Possession




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                             Exhibit 1 to Objection

                                 Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                              Chapter 11

GRUPO AEROMÉXICO, S.A.B. de C.V., et al.,                           Case No. 20-11563 (SCC)

                      Debtors.1                                     (Jointly Administered)


     ORDER GRANTING DEBTORS’ ELEVENTH OMNIBUS CLAIMS OBJECTION
    TO PROOFS OF CLAIM (FOREIGN CURRENCY AND WRONG DEBTOR CLAIMS)

         Upon the objection (the “Objection”)2 of the above-captioned Debtors, pursuant to sections

105 and 502 of the Bankruptcy Code and Bankruptcy Rule 3007, seeking to modify the Claims

identified on Schedule 1 and Schedule 2 attached hereto; and upon the Sánchez Declaration,

attached to the Objection as Exhibit 2; and the Court having jurisdiction to consider the matters

raised in the Objection pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of Reference

M-431, dated January 31, 2012 (Preska, C.J.); and the Court having authority to hear the matters

raised in the Objection pursuant to 28 U.S.C. § 157; and venue being proper before this Court

pursuant to 28 U.S.C. § § 1408 and 1409; and consideration of the Objection and the relief requested

therein being a core proceeding that the Court can determine pursuant to 28 U.S.C. § 157(b)(2); and

due and proper notice of the Objection and opportunity for a hearing on the Objection having been

given to the parties listed therein, and it appearing that no other or further notice need be provided;

and the Court having reviewed and considered the Objection; and the Court having the opportunity

1
         The Debtors in these cases, along with each Debtor’s registration number in the applicable jurisdiction, are as
         follows: Grupo Aeroméxico, S.A.B. de C.V. 286676; Aerovías de México, S.A. de C.V. 108984; Aerolitoral,
         S.A. de C.V. 217315; and Aerovías Empresa de Cargo, S.A. de C.V. 437094-1. The Debtors’ corporate
         headquarters is located at Paseo de la Reforma No. 243, piso 25 Colonia Cuauhtémoc, Mexico City, C.P.
         06500.
2
         Each capitalized term used herein but not otherwise defined herein shall have the meaning ascribed to it in the
         Objection.
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to hold a hearing on the Objection; and the Court having determined that the legal and factual bases

set forth in the Objection establish just cause for the relief granted herein; and the Court having

found that the relief granted herein being in the best interests of the Debtors, their creditors, and all

other parties in interest; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

        1.      The Objection is hereby granted as set forth herein.

        2.      The Foreign Currency Claims identified on Schedule 1 annexed hereto are hereby

modified such that each such Claim is now denominated in United States dollars, as described in the

row labeled “Modified Claim” on Schedule 1.

        3.      The Wrong Debtor Claims identified on Schedule 2 annexed hereto are hereby

modified as described therein such that each Wrong Debtor Claim is hereby reassigned from the

Debtor against which such claim was originally filed to the Debtor(s) identified in the “Modified

Claim” row applicable thereto. All Wrong Debtor Claims listed on Schedule 2 which were not

asserted in United States dollars are hereby modified to be Claims asserted in United States dollars,

as reflected in the applicable “Modified Claim” row on Schedule 2.

        4.      This Order shall be deemed a separate Order with respect to each Foreign Currency

Claim identified on Schedule 1, and to each Wrong Debtor Claim identified on Schedule 2, each

annexed hereto. Any stay of this Order pending appeal by any claimants whose Claims are subject

to this Order shall only apply to the contested matter that involves such claimant and shall not act to

stay the applicability and/or finality of this Order with respect to the other contested matters listed in

the Objection or this Order.

        5.      The Debtors, Epiq Corporate Restructuring, LLC, and the Clerk of this Court are



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authorized to take, or refrain from taking, any action necessary or appropriate to implement the terms

of, and the relief granted in, this Order without seeking further order of the Court.

         6.    Notwithstanding any Bankruptcy Rule, the Local Bankruptcy Rules for the Southern

District of New York, or otherwise, the terms and conditions of this Order shall be immediately

effective and enforceable upon its entry.

         7.    This Court shall retain jurisdiction to hear and determine all matters arising from,

arising under, or related to the Chapter 11 Cases, to the fullest extent permitted by law, including,

without limitation, to enforce this Order.



Dated:     _____________, 2021
           New York, New York




                                                  THE HONORABLE SHELLEY C. CHAPMAN
                                                  UNITED STATES BANKRUPTCY JUDGE




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                          Schedule 1 to Proposed Order

                            Foreign Currency Claims
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11th Omnibus Claims Objection                                                           Pg 25 of 731
                                                                                        Schedule                                            In re: GRUPO AEROMEXICO, S.A.B. de C.V., et al.
                                                                                                                                                 Case No 20-11563 (SCC) Jointly Administered

                                                                                   Foreign Currency Claims

Ref                        Claim #     Transferred       Debtor        Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
 1                         10342           No         Aerovías de      AFL LINIENFLUGEINKAUFS           0.00         0.00          0.00       9,427.10        9,427.10 EUR          Yes
                                                     México, S.A. de   GMBH
           Date Filed:   12/10/2020                      C.V.          BOPPSTRAßE 10
                                                                       BERLIN 10967
      Modified Claim       10342                                       GERMANY                          0.00         0.00          0.00       10,566.84       10,566.84 USD         Yes

 2                         14217           No         Aerovías de      AHN, SEOKHYUN                    0.00         0.00          0.00      733,460.40      733,460.40 KRW          No
                                                     México, S.A. de   A-301, 60 HAAN-RO
           Date Filed:    1/14/2021                      C.V.          GWANGMYEONG-SI 14322
                                                                       REPUBLIC OF KOREA
      Modified Claim       14217                                                                        0.00         0.00          0.00        610.61          610.61 USD            No

 3                         20368           No         Aerovías de      BERTAGNOLI, SILVIA               0.00         0.00          0.00       1,086.12        1,086.12 BRL          Yes
                                                     México, S.A. de   RUA MANUEL DA NOBREGA 471
           Date Filed:    1/14/2021                      C.V.          APTO 12
                                                                       SAO PAULO SP 04001-083
      Modified Claim       20368                                       BRAZIL                           0.00         0.00          0.00        200.73          200.73 USD           Yes

 4                         20308           No         Aerovías de      BESTOURS SA                      0.00         0.00          0.00        964.95          964.95 EUR           Yes
                                                     México, S.A. de   CONSELL DE CENT, 334, BAJOS
           Date Filed:    1/14/2021                      C.V.          BARCELONA 08009
                                                                       SPAIN
      Modified Claim       20308                                                                        0.00         0.00          0.00       1,081.61        1,081.61 USD          Yes

 5                         20369           No         Aerovías de      BURGO, ENRIQUE VIÑALS            0.00         0.00          0.00       1,658.98        1,658.98 EUR          Yes
                                                     México, S.A. de   TRINITAT FALGUERA 19
           Date Filed:    1/14/2021                      C.V.          MOLLET DEL VALLÉS 08100
                                                                       SPAIN
      Modified Claim       20369                                                                        0.00         0.00          0.00       1,859.55        1,859.55 USD          Yes

 6                         10323           No         Aerovías de      CAPORICCI, CLAUDIO               0.00         0.00          0.00        379.66          379.66 CAD            No
                                                     México, S.A. de   247 RUE SAINT-AUGUSTIN
           Date Filed:    12/9/2020                      C.V.          MONTREAL QC H4N 2N7
                                                                       CANADA
      Modified Claim       10323                                                                        0.00         0.00          0.00        275.71          275.71 USD            No

 7                         14470           No         Aerovías de      FLYTOUR AGENCIA DE               0.00         0.00          0.00      699,479.09      699,479.09 BRL          No
                                                     México, S.A. de   VIAGENS E TURISMO
           Date Filed:    1/15/2021                      C.V.          AVENIDA JURUA 641
                                                                       BARUERI, SP 06455010
      Modified Claim       14470                                       BRAZIL                           0.00         0.00          0.00      129,273.95      129,273.95 USD          No




                                                                                                                                                                                      Page 1
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11th Omnibus Claims Objection                                                           Pg 26 of 731
                                                                                        Schedule                                            In re: GRUPO AEROMEXICO, S.A.B. de C.V., et al.
                                                                                                                                                 Case No 20-11563 (SCC) Jointly Administered

                                                                                   Foreign Currency Claims

Ref                        Claim #     Transferred       Debtor        Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
 8                         14464           No         Aerovías de      FLYTOUR BUSSINESS TRAVEL         0.00         0.00          0.00      483,488.25      483,488.25 BRL          No
                                                     México, S.A. de   VIAGENS E
           Date Filed:    1/15/2021                      C.V.          AVENIDA JURUA 641
                                                                       ALPHAVILLE-BARUERI SP
      Modified Claim       14464                                       06455010                         0.00         0.00          0.00       89,355.69       89,355.69 USD          No
                                                                       BRAZIL

 9                         20266           No         Aerovías de      GONZALEZ MORENO, LEIDI           0.00         0.00          0.00        240.86          240.86 EUR            No
                                                     México, S.A. de   VIVIANA
           Date Filed:    1/13/2021                      C.V.          CR 92 162 40 CASA 127 SUBA
                                                                       SALITRE
      Modified Claim       20266                                       BOGOTA 111161                    0.00         0.00          0.00        269.98          269.98 USD            No
                                                                       COLOMBIA

10                         14031           No         Aerovías de      HIGH LIGHT SAO PAULO             0.00         0.00          0.00       34,777.35       34,777.35 BRL          No
                                                     México, S.A. de   VIAGENS E TURISMO
           Date Filed:    1/14/2021                      C.V.          AV. FRANCISCO MATARAZZO
                                                                       55 11 3868-2330
      Modified Claim       14031                                       55 11 998559417                  0.00         0.00          0.00       6,427.36        6,427.36 USD           No
                                                                       SAO PAULO SP 05001-200
                                                                       BRAZIL

11                         14029           No         Aerovías de      HIGH LIGHT VIAGENS E             0.00         0.00          0.00       68,629.29       68,629.29 BRL          No
                                                     México, S.A. de   TURISMO
           Date Filed:    1/14/2021                      C.V.          55 21 3231-0450
                                                                       RIO DE JANEIRO RJ 20031-003
      Modified Claim       14029                                       BRAZIL                           0.00         0.00          0.00       12,683.70       12,683.70 USD          No

12                         10536           No         Aerovías de      JONGHYEOK, LEE                   0.00         0.00          0.00     9,906,400.00       9,906,400.00         Yes
                                                     México, S.A. de   PAJU CHURCH                                                                                KRW
           Date Filed:   12/18/2020                      C.V.          CHEON JEONGGU-RO 163-45
                                                                       PAJU-SI, GYEONGGI-DO 10866
      Modified Claim       10536                                       SOUTH KOREA                      0.00         0.00          0.00       8,247.11        8,247.11 USD          Yes

13                         13607           No         Aerovías de      KANG, HYEMIN                     0.00         0.00          0.00     2,342,086.00       2,342,086.00          No
                                                     México, S.A. de   208/2501 29 HAEBITRO, GIJANG                                                               KRW
           Date Filed:    1/14/2021                      C.V.          GUN
                                                                       BUSAN 46048
      Modified Claim       13607                                       REPUBLIC OF KOREA                0.00         0.00          0.00       1,949.79        1,949.79 USD           No




                                                                                                                                                                                      Page 2
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                                                                                        Schedule                                             In re: GRUPO AEROMEXICO, S.A.B. de C.V., et al.
                                                                                                                                                  Case No 20-11563 (SCC) Jointly Administered

                                                                                   Foreign Currency Claims

Ref                        Claim #     Transferred       Debtor        Name and Address of Claimant    Secured   Administrative   Priority    Unsecured            Total         Unliquidated
14                         14640           No         Aerovías de      KIM, HYUNJAE                      0.00         0.00          0.00     7,340,000.00       7,340,000.00          No
                                                     México, S.A. de   DONGAN-GU PYUNGCHON-                                                                        KRW
           Date Filed:    1/15/2021                      C.V.          DAERO 369GIL, 44
                                                                       SAMHEUNG-VILLA #203
      Modified Claim       14640                                       ANYANG, GYEONGGI-DO 13935         0.00         0.00          0.00       6,110.57        6,110.57 USD           No
                                                                       SOUTH KOREA

15                         10577           No         Aerovías de      KIM, JIHYE                        0.00         0.00          0.00     1,650,000.00       1,650,000.00          No
                                                     México, S.A. de   7,SANGMI 1-RO, GOCHON-EUP,                                                                  KRW
           Date Filed:   12/21/2020                      C.V.          215-904
                                                                       GIMPO-SI, GYEONGGI-DO 10121
      Modified Claim       10577                                       SOUTH KOREA                       0.00         0.00          0.00       1,373.63        1,373.63 USD           No

16                         20537           No         Aerovías de      LEE, BINNA                        0.00         0.00          0.00      443,937.85      443,937.85 KRW          No
                                                     México, S.A. de   MANSURO 75BEON-GIL,
           Date Filed:    3/31/2021                      C.V.          NAMDONG-DONG
                                                                       INCHEON 21521
      Modified Claim       20537                                       SOURH KOERA                       0.00         0.00          0.00        369.58          369.58 USD            No

17                         20359           No         Aerovías de      MARIN, CARLA DE MARIO             0.00         0.00          0.00        672.69          672.69 BRL           Yes
                                                     México, S.A. de   RUA VISCONDE DE PIRAJA, 678 -
           Date Filed:    1/14/2021                      C.V.          CASA
                                                                       SAO PAULO SP 04277-020
      Modified Claim       20359                                       BRAZIL                            0.00         0.00          0.00        124.32          124.32 USD           Yes

18                         20396           No         Aerovías de      MONTES DE OCA MARTIN,             0.00         0.00          0.00       1,370.00        1,370.00 CAD          Yes
                                                     México, S.A. de   SELMA
           Date Filed:    1/14/2021                      C.V.          66 INNISWOOD DR
                                                                       TORONTO ON M1R 1E5
      Modified Claim       20396                                       CANADA                            0.00         0.00          0.00        994.89          994.89 USD           Yes

19                         14835           No         Aerovías de      OH, SAE JUNG                      0.00         0.00          0.00      443,937.85      443,937.85 KRW          No
                                                     México, S.A. de   57 DADONG 501 MANSU-GIL
           Date Filed:    3/31/2021                      C.V.          INCHEON-SI 21521
                                                                       SOUTH KOREA
      Modified Claim       14835                                                                         0.00         0.00          0.00        369.58          369.58 USD            No

20                         20348           No         Aerovías de      PALOMINO, MARC AGUSTI             0.00         0.00          0.00       1,344.84        1,344.84 EUR          Yes
                                                     México, S.A. de   CALLE CANIGO 9 BAJOS 2
           Date Filed:    1/14/2021                      C.V.          BADALONA 08912
                                                                       SPAIN
      Modified Claim       20348                                                                         0.00         0.00          0.00       1,507.43        1,507.43 USD          Yes




                                                                                                                                                                                       Page 3
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                                                                                        Schedule                                            In re: GRUPO AEROMEXICO, S.A.B. de C.V., et al.
                                                                                                                                                 Case No 20-11563 (SCC) Jointly Administered

                                                                                   Foreign Currency Claims

Ref                        Claim #     Transferred       Debtor        Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
21                         10401           No         Aerovías de      PETERS, VIKTOR                   0.00         0.00          0.00       2,090.94        2,090.94 EUR           No
                                                     México, S.A. de   HAMELNER STR. 39
           Date Filed:   12/11/2020                      C.V.          GERMANY
                                                                       BIELEFELD DE 33699
      Modified Claim       10401                                                                        0.00         0.00          0.00       2,343.73        2,343.73 USD           No

22                         20531           No         Aerovías de      PROANOS, LIZETH ANDREA           0.00         0.00          0.00        897.00          897.00 EUR           Yes
                                                     México, S.A. de   BARRERA
           Date Filed:    3/3/2021                       C.V.          23 BOULEVARD DE CHÉZY A
                                                                       RENNES
      Modified Claim       20531                                       RENNES 35000                     0.00         0.00          0.00       1,005.45        1,005.45 USD          Yes
                                                                       FRANCE

23                         10488           No         Aerovías de      RAHEMTULLA, NEENA                0.00         0.00          0.00       1,563.58        1,563.58 CAD           No
                                                     México, S.A. de   1404 1199 SEYMOUR ST
           Date Filed:   12/15/2020                      C.V.          VANCOUVER BC V6B 1K3
                                                                       CANADA
      Modified Claim       10488                                                                        0.00         0.00          0.00       1,135.46        1,135.46 USD           No

24                         20405           No         Aerovías de      SALMURRI, CARLOS                 0.00         0.00          0.00        681.29          681.29 EUR           Yes
                                                     México, S.A. de   CARRER DEL CANO Nº 3, 1º 2ª
           Date Filed:    1/15/2021                      C.V.          BARCELONA 08012
                                                                       SPAIN
      Modified Claim       20405                                                                        0.00         0.00          0.00        763.66          763.66 USD           Yes

25                         20108           No         Aerovías de      SANZ, JAVIER RUIZ                0.00         0.00          0.00        615.00          615.00 EUR           Yes
                                                     México, S.A. de   BRANDENBURGER STRASSE 12B
           Date Filed:   12/14/2020                      C.V.          MUNCHEN 80805
                                                                       GERMANY
      Modified Claim       20108                                                                        0.00         0.00          0.00        689.35          689.35 USD           Yes

26                         20383           No         Aerovías de      SENEN, DIANA NAVARRO             0.00         0.00          0.00        879.34          879.34 EUR           Yes
                                                     México, S.A. de   CALLE JORGE JUAN 96 PISO 5º5
           Date Filed:    1/14/2021                      C.V.          ESC INT
                                                                       MADRID 28009
      Modified Claim       20383                                       SPAIN                            0.00         0.00          0.00        985.65          985.65 USD           Yes

27                         10437           No         Aerovías de      SPENCE, ALISON                   0.00         0.00          0.00        923.87          923.87 CAD            No
                                                     México, S.A. de   18549 66 AVE NW
           Date Filed:   12/13/2020                      C.V.          EDMONTON AB T5T 1M3
                                                                       CANADA
      Modified Claim       10437                                                                        0.00         0.00          0.00        670.91          670.91 USD            No




                                                                                                                                                                                      Page 4
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11th Omnibus Claims Objection                                                           Pg 29 of 731
                                                                                        Schedule                                            In re: GRUPO AEROMEXICO, S.A.B. de C.V., et al.
                                                                                                                                                 Case No 20-11563 (SCC) Jointly Administered

                                                                                   Foreign Currency Claims

Ref                        Claim #     Transferred       Debtor        Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
28                         10481           No         Aerovías de      TSOULI, DONIA                    0.00         0.00          0.00       1,051.00        1,051.00 EUR           No
                                                     México, S.A. de   6 PLACE DE LA LOUVIERE, APT
           Date Filed:   12/15/2020                      C.V.          114
                                                                       SAINT MAUR DES FOSSES 94100
      Modified Claim       10481                                       FRANCE                           0.00         0.00          0.00       1,178.07        1,178.07 USD           No

29                         12742           No         Aerovías de      VINCHIATURO, FRANCESCA           0.00         0.00          0.00       1,514.74        1,514.74 EUR          Yes
                                                     México, S.A. de   101 SAINT MARTINS LANE
           Date Filed:    1/11/2021                      C.V.          LONDON WC2N 4AZ
                                                                       UNITED KINGDOM
      Modified Claim       12742                                                                        0.00         0.00          0.00       1,697.87        1,697.87 USD          Yes




                    Foreign Currency Claim Totals            Count:        BRL                  6      0.00         0.00          0.00      1,288,132.79      1,288,132.79
                                                                           CAD                  4      0.00         0.00          0.00        4,237.11          4,237.11
                                                                           EUR                  12     0.00         0.00          0.00        21,366.04         21,366.04
                                                                           KRW                  7      0.00         0.00          0.00      22,859,822.10     22,859,822.10




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                             Wrong Debtor Claims
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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant      Secured   Administrative   Priority    Unsecured            Total         Unliquidated
 1                          14692           No            Grupo         ALVAREZ, DIANA                      0.00         0.00          0.00       1,170.24        1,170.24 CAD           No
                                                       Aeroméxico,      11321 153A ST
            Date Filed:   1/15/2021                   S.A.B. de C.V.    SURREY BC V3R 8Z4
                                                                        CANADA
      Modified Claim        14692                      Aerovías de                                          0.00         0.00          0.00        849.82          849.82 USD            No
                                                      México, S.A. de
                                                          C.V.

 2                          13442           No            Grupo         ANIYA, IVY MIYASATO                 0.00         0.00          0.00       1,142.00        1,142.00 CAD           No
                                                       Aeroméxico,      135 EAST 17TH STREET, UNIT 1206
            Date Filed:   1/13/2021                   S.A.B. de C.V.    NORTH VANCOUVER BC V7L0C4
                                                                        CANADA
      Modified Claim        13442                      Aerovías de                                          0.00         0.00          0.00        829.31          829.31 USD            No
                                                      México, S.A. de
                                                          C.V.

 3                          12311           No            Grupo         AROULANDA, VIRGINIE                 0.00         0.00          0.00       1,243.86        1,243.86 EUR           No
                                                       Aeroméxico,      219 RUE DE BOURGOGNE
            Date Filed:    1/9/2021                   S.A.B. de C.V.    ORLEANS 45000
                                                                        FRANCE
      Modified Claim        12311                      Aerovías de                                          0.00         0.00          0.00       1,394.24        1,394.24 USD           No
                                                      México, S.A. de
                                                          C.V.

 4                          10744           No            Grupo         AUVRAY, LAURENCE                    0.00         0.00          0.00       1,069.59        1,069.59 EUR           No
                                                       Aeroméxico,      9 RUE DE LA SABLIERE
            Date Filed:   12/27/2020                  S.A.B. de C.V.    SAINT COULOMB, 35350
                                                                        FRANCE
      Modified Claim        10744                      Aerovías de                                          0.00         0.00          0.00       1,198.90        1,198.90 USD           No
                                                      México, S.A. de
                                                          C.V.

 5                          13982           No            Grupo         AYAU, SANDRA                        0.00         0.00          0.00       1,215.22        1,215.22 CAD           No
                                                       Aeroméxico,      6820 MONK BLVD
            Date Filed:   1/14/2021                   S.A.B. de C.V.    MONTREAL QC H4E 3J3
                                                                        CANADA
      Modified Claim        13982                      Aerovías de                                          0.00         0.00          0.00        882.48          882.48 USD            No
                                                      México, S.A. de
                                                          C.V.

 6                          13469           No            Grupo         AZIZ, TAMMY                         0.00         0.00          0.00        634.00          634.00 CAD            No
                                                       Aeroméxico,      1565 ALEXIS NIHON
            Date Filed:   1/13/2021                   S.A.B. de C.V.    ST-LAURENT QC H4R 2R6
                                                                        CANADA
      Modified Claim        13469                      Aerovías de                                          0.00         0.00          0.00        460.41          460.41 USD            No
                                                      México, S.A. de
                                                          C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured           Total          Unliquidated
 7                          14350           No            Grupo         BARBU, LAURA                     0.00         0.00          0.00        359.54          359.54 EUR           Yes
                                                       Aeroméxico,      C/ BAILEN, 46
            Date Filed:   1/15/2021                   S.A.B. de C.V.    BARCELONA 08010
                                                                        SPAIN
      Modified Claim        14350                      Aerovías de                                       0.00         0.00          0.00        403.01          403.01 USD            Yes
                                                      México, S.A. de
                                                          C.V.

 8                              358         No            Grupo         BARIL, ISABELLE                  0.00         0.00          0.00        868.10          868.10 CAD            No
                                                       Aeroméxico,      3803-888 CARNARVON ST
            Date Filed:   1/14/2021                   S.A.B. de C.V.    NEW WESTMINSTER BC V3M 0C6
                                                                        CANADA
      Modified Claim            358                    Aerovías de                                       0.00         0.00          0.00        630.41          630.41 USD            No
                                                      México, S.A. de
                                                          C.V.

 9                          13456           No            Grupo         BAULAN, MELVIN                   0.00         0.00          0.00       1,012.00        1,012.00 EUR           No
                                                       Aeroméxico,      3 ALLÉE DES CHARMILLES
            Date Filed:   1/13/2021                   S.A.B. de C.V.    BEAUREPAIRE, 85500
                                                                        FRANCE
      Modified Claim        13456                      Aerovías de                                       0.00         0.00          0.00       1,134.35        1,134.35 USD           No
                                                      México, S.A. de
                                                          C.V.

10                          14795           No            Grupo         BBG VOYAGES CONTOURS             0.00         0.00          0.00       1,241.48        1,241.48 EUR           No
                                                       Aeroméxico,      20255970
            Date Filed:    3/1/2021                   S.A.B. de C.V.    2 AV MAX GALLO
                                                                        NICE 06300
      Modified Claim        14795                      Aerovías de      FRANCE                           0.00         0.00          0.00       1,391.57        1,391.57 USD           No
                                                      México, S.A. de
                                                          C.V.

11                          10430           No            Grupo         BEATON, TONI LEE SHARON          0.00         0.00          0.00        620.46          620.46 CAD            No
                                                       Aeroméxico,      122 KELLINS CRESCENT
            Date Filed:   12/13/2020                  S.A.B. de C.V.    SASKATOON SK S7N 2X6
                                                                        CANADA
      Modified Claim        10430                      Aerovías de                                       0.00         0.00          0.00        450.57          450.57 USD            No
                                                      México, S.A. de
                                                          C.V.

12                          10429           No            Grupo         BEATON, TONI LEE SHARON          0.00         0.00          0.00        659.47          659.47 CAD            No
                                                       Aeroméxico,      122 KELLINS CRESCENT
            Date Filed:   12/13/2020                  S.A.B. de C.V.    SASKATOON SK S7N 2X6
                                                                        CANADA
      Modified Claim        10429                      Aerovías de                                       0.00         0.00          0.00        478.90          478.90 USD            No
                                                      México, S.A. de
                                                          C.V.




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                                                                                      Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant     Secured   Administrative   Priority    Unsecured            Total         Unliquidated
13                          11783          No            Grupo         BELIK, YULIYA                      0.00         0.00          0.00        422.76          422.76 CAD            No
                                                      Aeroméxico,      905 - 1833 CROWE ST
            Date Filed:   1/5/2021                   S.A.B. de C.V.    VANCOUVER BC V5Y 0A9
                                                                       CANADA
      Modified Claim       11783                      Aerovías de                                         0.00         0.00          0.00        307.01          307.01 USD            No
                                                     México, S.A. de
                                                         C.V.

14                         12731           No            Grupo         BELTRAN, ALBERTO LEOPOLDO          0.00         0.00          0.00        755.13          755.13 EUR            No
                                                      Aeroméxico,      RAU
            Date Filed:   1/11/2021                  S.A.B. de C.V.    CALLE AMSTERDAM N° 22
                                                                       SANTA MARTA DE TORMES 37900
      Modified Claim       12731                      Aerovías de      SPAIN                              0.00         0.00          0.00        846.43          846.43 USD            No
                                                     México, S.A. de
                                                         C.V.

15                         11632           No            Grupo         BERNARDES, TATIANA DE              0.00         0.00          0.00       3,892.13         3,892.13 BRL          No
                                                      Aeroméxico,      TOLEDO
            Date Filed:   1/4/2021                   S.A.B. de C.V.    RUA HEITOR PEIXOTO, 820 APT 81
                                                                       SAO PAULO SP 01543001
      Modified Claim       11632                      Aerovías de      BRAZIL                             0.00         0.00          0.00        719.32          719.32 USD            No
                                                     México, S.A. de
                                                         C.V.

16                         13457           No            Grupo         BERRY, WAYNE                       0.00         0.00          0.00       1,140.78        1,140.78 CAD           No
                                                      Aeroméxico,      920 ELGIN STREET
            Date Filed:   1/13/2021                  S.A.B. de C.V.    NEWMARKET ON L3Y 3C1
                                                                       CANADA
      Modified Claim       13457                      Aerovías de                                         0.00         0.00          0.00        828.43          828.43 USD            No
                                                     México, S.A. de
                                                         C.V.

17                         14847           No            Grupo         BETANCOURT, JUAN ANDRES            0.00         0.00          0.00       1,339.84        1,339.84 CAD           No
                                                      Aeroméxico,      PORTILLA
            Date Filed:   4/12/2021                  S.A.B. de C.V.    104-1122 MCKENZIE ST
                                                                       VICTORIA BC V8V 2W2
      Modified Claim       14847                      Aerovías de      CANADA                             0.00         0.00          0.00        972.98          972.98 USD            No
                                                     México, S.A. de
                                                         C.V.

18                         13443           No            Grupo         BILLES, SEGOLENE                   0.00         0.00          0.00       2,874.00        2,874.00 EUR           No
                                                      Aeroméxico,      22 RUE DUPORTAL
            Date Filed:   1/13/2021                  S.A.B. de C.V.    TOURS, 37000
                                                                       FRANCE
      Modified Claim       13443                      Aerovías de                                         0.00         0.00          0.00       3,221.47        3,221.47 USD           No
                                                     México, S.A. de
                                                         C.V.




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                                                                                      Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
19                          10572           No            Grupo         BINSTEAD, VICTORIA MARIE         0.00         0.00          0.00        923.00          923.00 CAD            No
                                                       Aeroméxico,      20350 68 AVE, UNIT 79
            Date Filed:   12/20/2020                  S.A.B. de C.V.    LANGLEY BC V2Y 3A5
                                                                        CANADA
      Modified Claim        10572                      Aerovías de                                       0.00         0.00          0.00        670.28          670.28 USD            No
                                                      México, S.A. de
                                                          C.V.

20                          14695           No            Grupo         BISHOP, PETER JOHN               0.00         0.00          0.00       1,136.00        1,136.00 CAD           No
                                                       Aeroméxico,      1005-7575 ALDERBRIDGE WAY
            Date Filed:   1/16/2021                   S.A.B. de C.V.    RICHMOND BC V6X 4L1
                                                                        CANADA
      Modified Claim        14695                      Aerovías de                                       0.00         0.00          0.00        824.96          824.96 USD            No
                                                      México, S.A. de
                                                          C.V.

21                          10382           No            Grupo         BLAIS, BERTRAND                  0.00         0.00          0.00        912.02          912.02 CAD            No
                                                       Aeroméxico,      91 PAQUETTE
            Date Filed:   12/11/2020                  S.A.B. de C.V.    GATINEAU QC J8R 1X1
                                                                        CANADA
      Modified Claim        10382                      Aerovías de                                       0.00         0.00          0.00        662.30          662.30 USD            No
                                                      México, S.A. de
                                                          C.V.

22                          10373           No            Grupo         BOLDA, PETER                     0.00         0.00          0.00        351.86          351.86 EUR            Yes
                                                       Aeroméxico,      KUTUZOVOVA 4
            Date Filed:   12/11/2020                  S.A.B. de C.V.    BRATISLAVA, 83103
                                                                        SLOVAKIA
      Modified Claim        10373                      Aerovías de                                       0.00         0.00          0.00        394.40          394.40 USD            Yes
                                                      México, S.A. de
                                                          C.V.

23                          13248           No            Grupo         BOUTEAUDOU, FRANCOIS             0.00         0.00          0.00        526.00          526.00 EUR            No
                                                       Aeroméxico,      1931 RUE DE LA TOUR GUEYRAU
            Date Filed:   1/13/2021                   S.A.B. de C.V.    SAINTE EULALIE 33560
                                                                        FRANCE
      Modified Claim        13248                      Aerovías de                                       0.00         0.00          0.00        589.59          589.59 USD            No
                                                      México, S.A. de
                                                          C.V.

24                          20311           No            Grupo         BOUWMANS, HENDRIKUS              0.00         0.00          0.00        793.26          793.26 EUR            Yes
                                                       Aeroméxico,      NICOLAAS
            Date Filed:   1/14/2021                   S.A.B. de C.V.    BOOMSTRAAT 6
                                                                        EERDE NB 5466PT
      Modified Claim        20311                      Aerovías de      NETHERLANDS                      0.00         0.00          0.00        889.17          889.17 USD            Yes
                                                      México, S.A. de
                                                          C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
25                          14394           No            Grupo         BRASSINGTON, LAURA               0.00         0.00          0.00        465.96           465.96 GBP          Yes
                                                       Aeroméxico,      CHIMES COTTAGE
            Date Filed:   1/15/2021                   S.A.B. de C.V.    BETLEY
                                                                        CREWE
      Modified Claim        14394                      Aerovías de      CHESHIRE, CW3 9AA                0.00         0.00          0.00        571.76          571.76 USD            Yes
                                                      México, S.A. de   UNITED KINGDOM
                                                          C.V.

26                          11914           No            Grupo         BREBAN, CLEMENTINE               0.00         0.00          0.00        599.49          599.49 EUR            No
                                                       Aeroméxico,      109 RUE ORDENER
            Date Filed:    1/6/2021                   S.A.B. de C.V.    PARIS 75018
                                                                        FRANCE
      Modified Claim        11914                      Aerovías de                                       0.00         0.00          0.00        671.97          671.97 USD            No
                                                      México, S.A. de
                                                          C.V.

27                          20137           No            Grupo         BROTO, MARIA NINO                0.00         0.00          0.00       1,658.32        1,658.32 EUR           No
                                                       Aeroméxico,      CALLE CALVET 36
            Date Filed:   12/23/2020                  S.A.B. de C.V.    PISO 3A 1A
                                                                        BARCELONA, 08021
      Modified Claim        20137                      Aerovías de      SPAIN                            0.00         0.00          0.00       1,858.81        1,858.81 USD           No
                                                      México, S.A. de
                                                          C.V.

28                          13255           No            Grupo         BURGMAN, ALBERDINA               0.00         0.00          0.00        366.84          366.84 EUR            No
                                                       Aeroméxico,      RUYSDAELLAAN 69
            Date Filed:   1/13/2021                   S.A.B. de C.V.    HUIS TER HEIDE UT 3712AR
                                                                        THE NETHERLANDS
      Modified Claim        13255                      Aerovías de                                       0.00         0.00          0.00        411.19          411.19 USD            No
                                                      México, S.A. de
                                                          C.V.

29                          13249           No            Grupo         BURGMAN, ALBERDINA               0.00         0.00          0.00        478.98          478.98 EUR            No
                                                       Aeroméxico,      RUYSDAELLAAN 69
            Date Filed:   1/13/2021                   S.A.B. de C.V.    HUIS TER HEIDE UT 3712AR
                                                                        THE NETHERLANDS
      Modified Claim        13249                      Aerovías de                                       0.00         0.00          0.00        536.89          536.89 USD            No
                                                      México, S.A. de
                                                          C.V.

30                          14586           No            Grupo         BURGT, DAAN VAN DE               0.00         0.00          0.00        719.98          719.98 EUR            No
                                                       Aeroméxico,      AARLE-RIXTELSEWEG 113
            Date Filed:   1/15/2021                   S.A.B. de C.V.    HELMOND 5707GK
                                                                        THE NETHERLANDS
      Modified Claim        14586                      Aerovías de                                       0.00         0.00          0.00        807.03          807.03 USD            No
                                                      México, S.A. de
                                                          C.V.




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                                                                                   Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
31                          14008          No            Grupo         CAMP, THOMAS                     0.00         0.00          0.00        974.00          974.00 CAD            No
                                                      Aeroméxico,      408 CHRISTOPHE-COLOMB OUEST
            Date Filed:   1/14/2021                  S.A.B. de C.V.    #1
                                                                       QUEBEC QC G1K 2C3
      Modified Claim       14008                      Aerovías de      CANADA                           0.00         0.00          0.00        707.31          707.31 USD            No
                                                     México, S.A. de
                                                         C.V.

32                         20501           No            Grupo         CARDONA, RAFAEL                  0.00         0.00          0.00       4,372.98        4,372.98 EUR           Yes
                                                      Aeroméxico,      CALLE JOSEFINA MASCAREÑAS
            Date Filed:   1/26/2021                  S.A.B. de C.V.    13, LOCAL 1
                                                                       BARCELONA 08173
      Modified Claim       20501                      Aerovías de      SPAIN                            0.00         0.00          0.00       4,901.67        4,901.67 USD           Yes
                                                     México, S.A. de
                                                         C.V.

33                         20542           No            Grupo         CARMONA, EDUARDO                 0.00         0.00          0.00        523.99          523.99 EUR            Yes
                                                      Aeroméxico,      18A RUE DES VEAUX
            Date Filed:   4/26/2021                  S.A.B. de C.V.    ESTRASBURGO 67000
                                                                       FRANCE
      Modified Claim       20542                      Aerovías de                                       0.00         0.00          0.00        587.34          587.34 USD            Yes
                                                     México, S.A. de
                                                         C.V.

34                         11264           No            Grupo         CASTILLO GUIZAR, LAURA           0.00         0.00          0.00        643.72          643.72 CAD            No
                                                      Aeroméxico,      1752 AV VICTORIA
            Date Filed:   1/1/2021                   S.A.B. de C.V.    GREENFIELD PARK QC J4V 1M3
                                                                       CANADA
      Modified Claim       11264                      Aerovías de                                       0.00         0.00          0.00        467.47          467.47 USD            No
                                                     México, S.A. de
                                                         C.V.

35                         12091           No            Grupo         CECCARELLI, ALESSANDRO           0.00         0.00          0.00       1,929.14        1,929.14 EUR           No
                                                      Aeroméxico,      VIA EMILIA, 324
            Date Filed:   1/7/2021                   S.A.B. de C.V.    PISA 56121
                                                                       ITALY
      Modified Claim       12091                      Aerovías de                                       0.00         0.00          0.00       2,162.37        2,162.37 USD           No
                                                     México, S.A. de
                                                         C.V.

36                         13890           No            Grupo         CERDA, JEREMY                    0.00         0.00          0.00        479.29          479.29 EUR            No
                                                      Aeroméxico,      143 RUE JUPITER
            Date Filed:   1/14/2021                  S.A.B. de C.V.    RÉSIDENCE L'ASTRALE ET
                                                                       L'EPSILON
      Modified Claim       13890                      Aerovías de      APPARTEMENT B 205                0.00         0.00          0.00        537.24          537.24 USD            No
                                                     México, S.A. de   JUVIGNAC FR 34990
                                                         C.V.          FRANCE




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                                                                                      Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
37                          20511          No            Grupo         CERISOLE, DARIO                  0.00         0.00          0.00       1,431.14        1,431.14 EUR          Yes
                                                      Aeroméxico,      CALLE BANYS VELLS, 9, 2-4
            Date Filed:   2/5/2021                   S.A.B. de C.V.    08012 BARCELONA
                                                                       BARCELONA ES 08012
      Modified Claim       20511                      Aerovías de      SPAIN                            0.00         0.00          0.00       1,604.16        1,604.16 USD           Yes
                                                     México, S.A. de
                                                         C.V.

38                         11443           No            Grupo         CHEN, I-CHUN                     0.00         0.00          0.00       1,152.06        1,152.06 CAD           No
                                                      Aeroméxico,      1201-3381 ROSS DR
            Date Filed:   1/3/2021                   S.A.B. de C.V.    VANCOUVER BC V6S 0L2
                                                                       CANADA
      Modified Claim       11443                      Aerovías de                                       0.00         0.00          0.00        836.62          836.62 USD            No
                                                     México, S.A. de
                                                         C.V.

39                         20363           No            Grupo         CHEVERE FLAMENCO SL              0.00         0.00          0.00       4,552.00        4,552.00 EUR           Yes
                                                      Aeroméxico,      VIAJES CELEBRES
            Date Filed:   1/14/2021                  S.A.B. de C.V.    CALLE MARTINEZ MALDONADO
                                                                       79, LOCAL
      Modified Claim       20363                      Aerovías de      MALAGA 29007                     0.00         0.00          0.00       5,102.34        5,102.34 USD           Yes
                                                     México, S.A. de   SPAIN
                                                         C.V.

40                         13725           No            Grupo         CHINCHURRETA, MABEGONA           0.00         0.00          0.00        859.73          859.73 EUR            No
                                                      Aeroméxico,      BILBAO
            Date Filed:   1/14/2021                  S.A.B. de C.V.    SANT CRISPI, 28
                                                                       EL MASNOU BARCELONA 08320
      Modified Claim       13725                      Aerovías de      SPAIN                            0.00         0.00          0.00        963.67          963.67 USD            No
                                                     México, S.A. de
                                                         C.V.

41                         13825           No            Grupo         CHORD, BENJAMIN                  0.00         0.00          0.00       1,904.32        1,904.32 EUR           No
                                                      Aeroméxico,      12 RUE DUPETIT-THOUARS
            Date Filed:   1/14/2021                  S.A.B. de C.V.    PARIS 75003
                                                                       FRANCE
      Modified Claim       13825                      Aerovías de                                       0.00         0.00          0.00       2,134.55        2,134.55 USD           No
                                                     México, S.A. de
                                                         C.V.

42                         13425           No            Grupo         CHYCKI, JAKUB                    0.00         0.00          0.00        758.00          758.00 EUR            No
                                                      Aeroméxico,      CALLE CARTAGO 16 BAJO C
            Date Filed:   1/13/2021                  S.A.B. de C.V.    MADRID, 28022
                                                                       SPAIN
      Modified Claim       13425                      Aerovías de                                       0.00         0.00          0.00        849.64          849.64 USD            No
                                                     México, S.A. de
                                                         C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
43                          14036           No            Grupo         COHEN, ODESSA                    0.00         0.00          0.00        375.00          375.00 CAD            No
                                                       Aeroméxico,      7520 18TH ST, #26
            Date Filed:   1/14/2021                   S.A.B. de C.V.    BURNABY BC V3N 4X7
                                                                        CANADA
      Modified Claim        14036                      Aerovías de                                       0.00         0.00          0.00        272.32          272.32 USD            No
                                                      México, S.A. de
                                                          C.V.

44                          14407           No            Grupo         COMBES, NICOLAS                  0.00         0.00          0.00       1,056.78        1,056.78 EUR           No
                                                       Aeroméxico,      12 RUE DES COUTELIERS
            Date Filed:   1/15/2021                   S.A.B. de C.V.    TOULOUSE 31000
                                                                        FRANCE
      Modified Claim        14407                      Aerovías de                                       0.00         0.00          0.00       1,184.54        1,184.54 USD           No
                                                      México, S.A. de
                                                          C.V.

45                          10311           No            Grupo         CORCUERA, ANDRES HARMSEN         0.00         0.00          0.00        954.00          954.00 EUR            No
                                                       Aeroméxico,      40 W 37TH ST, STE 600
            Date Filed:   12/8/2020                   S.A.B. de C.V.    NEW YORK NY 10018

      Modified Claim        10311                      Aerovías de                                       0.00         0.00          0.00       1,069.34        1,069.34 USD           No
                                                      México, S.A. de
                                                          C.V.

46                          20152           No            Grupo         CORRAL, MARIA PILAR CAPILLA      0.00         0.00          0.00       5,383.00        5,383.00 EUR           No
                                                       Aeroméxico,      CALLE JOAN BROSSA 17
            Date Filed:   12/29/2020                  S.A.B. de C.V.    TIANA (BARCELONA), 08391
                                                                        SPAIN
      Modified Claim        20152                      Aerovías de                                       0.00         0.00          0.00       6,033.80        6,033.80 USD           No
                                                      México, S.A. de
                                                          C.V.

47                          11747           No            Grupo         CRUZ, TANIA EULALIA MARTINEZ     0.00         0.00          0.00        614.89          614.89 EUR            No
                                                       Aeroméxico,      MATILDA HOUSE 102, ST
            Date Filed:    1/5/2021                   S.A.B. de C.V.    KATHARINES WAY
                                                                        LONDON E1W 1LF
      Modified Claim        11747                      Aerovías de      UNITED KINGDOM                   0.00         0.00          0.00        689.23          689.23 USD            No
                                                      México, S.A. de
                                                          C.V.

48                          20223           No            Grupo         CUBELLS, FERNANDO ALEJANDRO      0.00         0.00          0.00        998.22          998.22 EUR            Yes
                                                       Aeroméxico,      SANCHESCHULZ
            Date Filed:   1/11/2021                   S.A.B. de C.V.    CORCEGA 305, 2-1
                                                                        BARCELONA 08008
      Modified Claim        20223                      Aerovías de      SPAIN                            0.00         0.00          0.00       1,118.90        1,118.90 USD           Yes
                                                      México, S.A. de
                                                          C.V.




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                                                                                      Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
49                          14708          No            Grupo         DAUWENS, JORN                    0.00         0.00          0.00       1,495.90        1,495.90 EUR           No
                                                      Aeroméxico,      OUDE HEIRWEG 16C
            Date Filed:   1/18/2021                  S.A.B. de C.V.    KOOLSKAMP 8851
                                                                       BELGIUM
      Modified Claim       14708                      Aerovías de                                       0.00         0.00          0.00       1,676.75        1,676.75 USD           No
                                                     México, S.A. de
                                                         C.V.

50                         14598           No            Grupo         D'ELIA, MARCO                    0.00         0.00          0.00        532.00          532.00 EUR            No
                                                      Aeroméxico,      VIA DANELLI
            Date Filed:   1/15/2021                  S.A.B. de C.V.    3/C
                                                                       CASTELFRANCO VENETO TV 31033
      Modified Claim       14598                      Aerovías de      ITALY                            0.00         0.00          0.00        596.32          596.32 USD            No
                                                     México, S.A. de
                                                         C.V.

51                         14765           No            Grupo         DESCAMPS, MARINE                 0.00         0.00          0.00        730.92          730.92 EUR            No
                                                      Aeroméxico,      58 BIS RUE DES DURIEZ
            Date Filed:   2/3/2021                   S.A.B. de C.V.    MOUVAUX 59420
                                                                       FRANCE
      Modified Claim       14765                      Aerovías de                                       0.00         0.00          0.00        819.29          819.29 USD            No
                                                     México, S.A. de
                                                         C.V.

52                         12738           No            Grupo         DUBE, NATHALIE                   0.00         0.00          0.00        736.12          736.12 CAD            No
                                                      Aeroméxico,      340 RANG 4
            Date Filed:   1/11/2021                  S.A.B. de C.V.    MORIN HEIGHTS QC J0R 1H0
                                                                       CANADA
      Modified Claim       12738                      Aerovías de                                       0.00         0.00          0.00        534.57          534.57 USD            No
                                                     México, S.A. de
                                                         C.V.

53                         14527           No            Grupo         DZHEBKOVA, GERGANA               0.00         0.00          0.00       2,560.96        2,560.96 CAD           No
                                                      Aeroméxico,      3253 D'HERELLE
            Date Filed:   1/15/2021                  S.A.B. de C.V.    MONTREAL QC H1Z 2B2
                                                                       CANADA
      Modified Claim       14527                      Aerovías de                                       0.00         0.00          0.00       1,859.75        1,859.75 USD           No
                                                     México, S.A. de
                                                         C.V.

54                         14156           No            Grupo         EDWARDS, BRAD                    0.00         0.00          0.00       1,499.56        1,499.56 CAD           No
                                                      Aeroméxico,      366 THE EAST MALL, STE 146
            Date Filed:   1/14/2021                  S.A.B. de C.V.    TORONTO, MN M9B 6C6
                                                                       CANADA
      Modified Claim       14156                      Aerovías de                                       0.00         0.00          0.00       1,088.97        1,088.97 USD           No
                                                     México, S.A. de
                                                         C.V.




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                                                                                      Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant    Secured   Administrative   Priority    Unsecured            Total         Unliquidated
55                          14035          No            Grupo         ELLES, SOPHIE                     0.00         0.00          0.00       1,314.00        1,314.00 EUR           No
                                                      Aeroméxico,      21 RUE DU COLONEL MOLL
            Date Filed:   1/14/2021                  S.A.B. de C.V.    PARIS 75017
                                                                       FRANCE
      Modified Claim       14035                      Aerovías de                                        0.00         0.00          0.00       1,472.86        1,472.86 USD           No
                                                     México, S.A. de
                                                         C.V.

56                         14720           No            Grupo         ESCODA, REMIGI MARGALEF           0.00         0.00          0.00       3,132.46        3,132.46 EUR           No
                                                      Aeroméxico,      C/DEDALS Nº6
            Date Filed:   1/19/2021                  S.A.B. de C.V.    VANDELLOS 43891
                                                                       SPAIN
      Modified Claim       14720                      Aerovías de                                        0.00         0.00          0.00       3,511.17        3,511.17 USD           No
                                                     México, S.A. de
                                                         C.V.

57                         12554           No            Grupo         ESPINOZA, DANY GUILLERMO          0.00         0.00          0.00       3,453.15        3,453.15 CAD           No
                                                      Aeroméxico,      AZANA
            Date Filed:   1/10/2021                  S.A.B. de C.V.    137 PENDENNIS AV
                                                                       POINTE-CLAIRE QC H9R 1H5
      Modified Claim       12554                      Aerovías de      CANADA                            0.00         0.00          0.00       2,507.65        2,507.65 USD           No
                                                     México, S.A. de
                                                         C.V.

58                         14397           No            Grupo         EVASION 2000 SARL                 0.00         0.00          0.00       1,618.00        1,618.00 EUR           No
                                                      Aeroméxico,      ROUTE DE NANCY
            Date Filed:   1/15/2021                  S.A.B. de C.V.    GONDREVILLE FR 54840
                                                                       FRANCE
      Modified Claim       14397                      Aerovías de                                        0.00         0.00          0.00       1,813.62        1,813.62 USD           No
                                                     México, S.A. de
                                                         C.V.

59                         14490           No            Grupo         FALCONI, KATIA                    0.00         0.00          0.00        108.50           108.50 GBP           No
                                                      Aeroméxico,      MANCHESTER ONE - 15 FLOOR
            Date Filed:   1/15/2021                  S.A.B. de C.V.    53 PORTLAND STREET
                                                                       MANCHESTER M1 3LD
      Modified Claim       14490                      Aerovías de      UNITED KINGDOM                    0.00         0.00          0.00        133.13          133.13 USD            No
                                                     México, S.A. de
                                                         C.V.

60                         20406           No            Grupo         FERNANDEZ, JOSÉ ANTONIO           0.00         0.00          0.00       1,043.02        1,043.02 EUR           No
                                                      Aeroméxico,      MAYORGA
            Date Filed:   1/15/2021                  S.A.B. de C.V.    C/ JOSÉ BERGAMIN, 38. PISO 10
                                                                       PUERTA C.
      Modified Claim       20406                      Aerovías de      MADRID 28030                      0.00         0.00          0.00       1,169.12        1,169.12 USD           No
                                                     México, S.A. de   SPAIN
                                                         C.V.




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                                                                                     Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured           Total          Unliquidated
61                          20508           No            Grupo         FERRI, ELISABET BLANCO           0.00         0.00          0.00        976.94          976.94 EUR           Yes
                                                       Aeroméxico,      AVINGUDA LLUIS COMPANYS 20A
            Date Filed:    2/2/2021                   S.A.B. de C.V.    SANT JOAN DESPI 08970
                                                                        SPAIN
      Modified Claim        20508                      Aerovías de                                       0.00         0.00          0.00       1,095.05        1,095.05 USD           Yes
                                                      México, S.A. de
                                                          C.V.

62                          10441           No            Grupo         FINLAN, JOHN DALE & HELEN L      0.00         0.00          0.00       1,013.04        1,013.04 CAD           No
                                                       Aeroméxico,      3958 SOUTHWOOD ST
            Date Filed:   12/13/2020                  S.A.B. de C.V.    BURNABY BC V5J 2E6
                                                                        CANADA
      Modified Claim        10441                      Aerovías de                                       0.00         0.00          0.00        735.66          735.66 USD            No
                                                      México, S.A. de
                                                          C.V.

63                          13478           No            Grupo         FIORINI, ROBBIE                  0.00         0.00          0.00       1,564.00        1,564.00 AUD           No
                                                       Aeroméxico,      62 NEPEAN ST, WATSONIA
            Date Filed:   1/13/2021                   S.A.B. de C.V.    MELBOURNE VI 3087
                                                                        AUSTRALIA
      Modified Claim        13478                      Aerovías de                                       0.00         0.00          0.00       1,073.37        1,073.37 USD           No
                                                      México, S.A. de
                                                          C.V.

64                          10604           No            Grupo         FITZPATRCK, PETER                0.00         0.00          0.00        615.00          615.00 CAD            No
                                                       Aeroméxico,      2400 CAVENDISH WAY, UNIT 45
            Date Filed:   12/21/2020                  S.A.B. de C.V.    WHISTLER BC V8E 0L8
                                                                        CANADA
      Modified Claim        10604                      Aerovías de                                       0.00         0.00          0.00        446.61          446.61 USD            No
                                                      México, S.A. de
                                                          C.V.

65                              363         No            Grupo         FRANCEY, KATHERINE               0.00         0.00          0.00        232.00           232.00 GBP           No
                                                       Aeroméxico,      29 CHEYNE ROW
            Date Filed:   1/14/2021                   S.A.B. de C.V.    LONDON SW3 5HW
                                                                        UNITED KINGDOM
      Modified Claim            363                    Aerovías de                                       0.00         0.00          0.00        284.68          284.68 USD            No
                                                      México, S.A. de
                                                          C.V.

66                          13449           No            Grupo         FUNKNER, MAX                     0.00         0.00          0.00        423.00          423.00 EUR            No
                                                       Aeroméxico,      AUSTR. 8
            Date Filed:   1/13/2021                   S.A.B. de C.V.    ACHERN, 77855
                                                                        GERMANY
      Modified Claim        13449                      Aerovías de                                       0.00         0.00          0.00        474.14          474.14 USD            No
                                                      México, S.A. de
                                                          C.V.




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                                                                                     Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
67                          20258          No            Grupo         GARCIA VALLE, JOSE MANUEL        0.00         0.00          0.00       1,435.46        1,435.46 EUR           No
                                                      Aeroméxico,      CALLE VEZA 33
            Date Filed:   1/13/2021                  S.A.B. de C.V.    ESCALERA DERECHA 3A
                                                                       MADRID 28029
      Modified Claim       20258                      Aerovías de      SPAIN                            0.00         0.00          0.00       1,609.01        1,609.01 USD           No
                                                     México, S.A. de
                                                         C.V.

68                         20544           No            Grupo         GARCIA, AITOR GIL                0.00         0.00          0.00        389.72          389.72 EUR            No
                                                      Aeroméxico,      CALLE FITERO, 53 1º IZDA
            Date Filed:   6/10/2021                  S.A.B. de C.V.    CORELLA 31591
                                                                       SPAIN
      Modified Claim       20544                      Aerovías de                                       0.00         0.00          0.00        436.84          436.84 USD            No
                                                     México, S.A. de
                                                         C.V.

69                         20233           No            Grupo         GARIBALDI, SANDRO                0.00         0.00          0.00        335.77          335.77 EUR            No
                                                      Aeroméxico,      450, RUE PAPINEAU
            Date Filed:   1/12/2021                  S.A.B. de C.V.    BOISBRIAND QC J7G 0A4
                                                                       CANADA
      Modified Claim       20233                      Aerovías de                                       0.00         0.00          0.00        376.36          376.36 USD            No
                                                     México, S.A. de
                                                         C.V.

70                         12064           No            Grupo         GAUDREAULT, ANDRE                0.00         0.00          0.00        987.46          987.46 CAD            No
                                                      Aeroméxico,      875 AVENUE DOLLARD
            Date Filed:   1/7/2021                   S.A.B. de C.V.    OUTREMONT QC H2V 3G8
                                                                       CANADA
      Modified Claim       12064                      Aerovías de                                       0.00         0.00          0.00        717.09          717.09 USD            No
                                                     México, S.A. de
                                                         C.V.

71                         12062           No            Grupo         GAUDREAULT, ANDRE                0.00         0.00          0.00        987.46          987.46 CAD            No
                                                      Aeroméxico,      875 AVENUE DOLLARD
            Date Filed:   1/7/2021                   S.A.B. de C.V.    OUTREMONT QC H2V 3G8
                                                                       CANADA
      Modified Claim       12062                      Aerovías de                                       0.00         0.00          0.00        717.09          717.09 USD            No
                                                     México, S.A. de
                                                         C.V.

72                         13474           No            Grupo         GETFLIGHTS BV                    0.00         0.00          0.00       1,464.35        1,464.35 EUR           No
                                                      Aeroméxico,      GISTELSE STEENWEG 676
            Date Filed:   1/13/2021                  S.A.B. de C.V.    BRUGGE, 8200
                                                                       BELGIUM
      Modified Claim       13474                      Aerovías de                                       0.00         0.00          0.00       1,641.39        1,641.39 USD           No
                                                     México, S.A. de
                                                         C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured           Total          Unliquidated
73                          20209           No            Grupo         GIL, AITANA                      0.00         0.00          0.00        943.99          943.99 EUR           Yes
                                                       Aeroméxico,      SANJUANGO BIDEA, 6
            Date Filed:    1/8/2021                   S.A.B. de C.V.    ARBIZU 31839
                                                                        SPAIN
      Modified Claim        20209                      Aerovías de                                       0.00         0.00          0.00       1,058.12        1,058.12 USD           Yes
                                                      México, S.A. de
                                                          C.V.

74                          13250           No            Grupo         GLENNIE, GLORIA                  0.00         0.00          0.00       2,311.00         2,311.00 GBP          No
                                                       Aeroméxico,      AMERICAN EXPRESS GLOBAL
            Date Filed:   1/13/2021                   S.A.B. de C.V.    BUSINESS TRAVEL
                                                                        5 CHURCHILL PLACE
      Modified Claim        13250                      Aerovías de      CANARY WHARF                     0.00         0.00          0.00       2,835.71        2,835.71 USD           No
                                                      México, S.A. de   LONDON E145HU
                                                          C.V.          UNITED KINGDOM

75                              357         No            Grupo         GODIN, PIERRE                    0.00         0.00          0.00        511.33          511.33 CAD            No
                                                       Aeroméxico,      346 DES MELEZES
            Date Filed:   1/14/2021                   S.A.B. de C.V.    ROSEMERE QC J7A 0A4
                                                                        CANADA
      Modified Claim            357                    Aerovías de                                       0.00         0.00          0.00        371.32          371.32 USD            No
                                                      México, S.A. de
                                                          C.V.

76                              356         No            Grupo         GODIN, PIERRE                    0.00         0.00          0.00        470.00          470.00 CAD            No
                                                       Aeroméxico,      346 DES MELEZES
            Date Filed:   1/14/2021                   S.A.B. de C.V.    ROSEMERE QC J7A 0A4
                                                                        CANADA
      Modified Claim            356                    Aerovías de                                       0.00         0.00          0.00        341.31          341.31 USD            No
                                                      México, S.A. de
                                                          C.V.

77                          11545           No            Grupo         GOFF, JEANNE LE                  0.00         0.00          0.00        882.84          882.84 EUR            No
                                                       Aeroméxico,      27 RUE DU COMMANDANT LE
            Date Filed:    1/4/2021                   S.A.B. de C.V.    MINTIER
                                                                        56000 VANNES, BR 27
      Modified Claim        11545                      Aerovías de      FRANCE                           0.00         0.00          0.00        989.58          989.58 USD            No
                                                      México, S.A. de
                                                          C.V.

78                          10529           No            Grupo         GOGOLEVA, MARIYA                 0.00         0.00          0.00        351.07          351.07 CAD            No
                                                       Aeroméxico,      207 FLORENCE ST, APT 2
            Date Filed:   12/17/2020                  S.A.B. de C.V.    OTTAWA ON K1R 5N5
                                                                        CANADA
      Modified Claim        10529                      Aerovías de                                       0.00         0.00          0.00        254.94          254.94 USD            No
                                                      México, S.A. de
                                                          C.V.




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                                                                                     Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured           Total          Unliquidated
79                          20310           No            Grupo         GONZALEZ JIMENEZ, ISMAEL         0.00         0.00          0.00        859.69          859.69 EUR           Yes
                                                       Aeroméxico,      CARRER CONSELL DE CENT 121
            Date Filed:   1/14/2021                   S.A.B. de C.V.    1º2ª
                                                                        BARCELONA 08015 08015
      Modified Claim        20310                      Aerovías de      SPAIN                            0.00         0.00          0.00        963.63          963.63 USD            Yes
                                                      México, S.A. de
                                                          C.V.

80                          14732           No            Grupo         GONZALEZ, CARMEN MAIRELES        0.00         0.00          0.00       1,240.95        1,240.95 EUR           Yes
                                                       Aeroméxico,      CALLE VITAL AZA 100 ESCALERA
            Date Filed:   1/24/2021                   S.A.B. de C.V.    IZQ 4A
                                                                        MADRID 28017
      Modified Claim        14732                      Aerovías de      SPAIN                            0.00         0.00          0.00       1,390.98        1,390.98 USD           Yes
                                                      México, S.A. de
                                                          C.V.

81                          14014           No            Grupo         GROOT, ARIANE                    0.00         0.00          0.00       4,179.88        4,179.88 EUR           No
                                                       Aeroméxico,      BREDE HILLEDIJK 150L
            Date Filed:   1/14/2021                   S.A.B. de C.V.    ROTTERDAM 3072NE
                                                                        NETHERLANDS
      Modified Claim        14014                      Aerovías de                                       0.00         0.00          0.00       4,685.23        4,685.23 USD           No
                                                      México, S.A. de
                                                          C.V.

82                          10499           No            Grupo         HABERSTOCK, PAUL                 0.00         0.00          0.00       13,952.48       13,952.48 CAD          No
                                                       Aeroméxico,      #315, 4703 - 43 AVENUE
            Date Filed:   12/16/2020                  S.A.B. de C.V.    SPRUCE GROVE AB T7Z 2S7
                                                                        CANADA
      Modified Claim        10499                      Aerovías de                                       0.00         0.00          0.00       10,132.20       10,132.20 USD          No
                                                      México, S.A. de
                                                          C.V.

83                          12195           No            Grupo         HAGENGUTH, SIEGFRIED             0.00         0.00          0.00       1,360.86        1,360.86 EUR           No
                                                       Aeroméxico,      CORINTHWEG, 2
            Date Filed:    1/8/2021                   S.A.B. de C.V.    BOTTROP 46238
                                                                        GERMANY
      Modified Claim        12195                      Aerovías de                                       0.00         0.00          0.00       1,525.39        1,525.39 USD           No
                                                      México, S.A. de
                                                          C.V.

84                              184         No            Grupo         HANSEN, TERRY                    0.00         0.00          0.00        735.06          735.06 CAD            No
                                                       Aeroméxico,      23865 114A AVE
            Date Filed:   12/24/2020                  S.A.B. de C.V.    MAPLE RIDGE BC V2V 1V2
                                                                        CANADA
      Modified Claim            184                    Aerovías de                                       0.00         0.00          0.00        533.80          533.80 USD            No
                                                      México, S.A. de
                                                          C.V.




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11th Omnibus Claims Objection                                                            Pg 45 of 732
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                                                                                      Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured             Total        Unliquidated
85                          12086           No            Grupo         HARCUS, DANIEL                   0.00         0.00          0.00       1,291.46         1,291.46 GBP          No
                                                       Aeroméxico,      C/O AMERICAN EXPRESS GBT
            Date Filed:    1/7/2021                   S.A.B. de C.V.    5 CHURCHILL PLACE
                                                                        CANARY WHARF
      Modified Claim        12086                      Aerovías de      LONDON E14 5HU                   0.00         0.00          0.00       1,584.68        1,584.68 USD           No
                                                      México, S.A. de   UNITED KINGDOM
                                                          C.V.

86                          14696           No            Grupo         HELDENS, LARS                    0.00         0.00          0.00        634.00          634.00 EUR            No
                                                       Aeroméxico,      MICHELANGELOSTRAAT 101-1
            Date Filed:   1/16/2021                   S.A.B. de C.V.    AMSTERDAM 1077CA
                                                                        NETHERLANDS
      Modified Claim        14696                      Aerovías de                                       0.00         0.00          0.00        710.65          710.65 USD            No
                                                      México, S.A. de
                                                          C.V.

87                          11263           No            Grupo         HERNANDEZ CASTILLO,              0.00         0.00          0.00        574.92          574.92 CAD            No
                                                       Aeroméxico,      MAXIMILIANO
            Date Filed:    1/1/2021                   S.A.B. de C.V.    1752 AV VICTORIA
                                                                        GREENFIELD PARK QC J4V 1M3
      Modified Claim        11263                      Aerovías de      CANADA                           0.00         0.00          0.00        417.50          417.50 USD            No
                                                      México, S.A. de
                                                          C.V.

88                          20502           No            Grupo         HERNANDEZ, KARINE ZIGLIARA       0.00         0.00          0.00        499.00          499.00 EUR            No
                                                       Aeroméxico,      EPOUSE
            Date Filed:   1/28/2021                   S.A.B. de C.V.    CALLE OASIS 11 RES LA ROPERA
                                                                        PORTAL A
      Modified Claim        20502                      Aerovías de      EL MEDANO SC 38612               0.00         0.00          0.00        559.33          559.33 USD            No
                                                      México, S.A. de   SPAIN
                                                          C.V.

89                          14408           No            Grupo         HICKSTEIN, LENA                  0.00         0.00          0.00        388.00          388.00 EUR            No
                                                       Aeroméxico,      RAIMUND-HARMSTORF-WEG, 13A
            Date Filed:   1/15/2021                   S.A.B. de C.V.    BAD OLDESLOE SH 23843
                                                                        GERMANY
      Modified Claim        14408                      Aerovías de                                       0.00         0.00          0.00        434.91          434.91 USD            No
                                                      México, S.A. de
                                                          C.V.

90                          10360           No            Grupo         HILDEBRANDT, LIANA               0.00         0.00          0.00        489.49          489.49 EUR            No
                                                       Aeroméxico,      HANSASTRASSE 33
            Date Filed:   12/10/2020                  S.A.B. de C.V.    SCHUETTORF, 48465
                                                                        GERMANY
      Modified Claim        10360                      Aerovías de                                       0.00         0.00          0.00        548.67          548.67 USD            No
                                                      México, S.A. de
                                                          C.V.




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11th Omnibus Claims Objection                                                            Pg 46 of 732
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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
91                          10366           No            Grupo         HOFFMAN, ALAN                    0.00         0.00          0.00       2,836.80        2,836.80 CAD           No
                                                       Aeroméxico,      3114 GRAVELEY ST
            Date Filed:   12/10/2020                  S.A.B. de C.V.    VANCOUVER BC V5K 3K6
                                                                        CANADA
      Modified Claim        10366                      Aerovías de                                       0.00         0.00          0.00       2,060.07        2,060.07 USD           No
                                                      México, S.A. de
                                                          C.V.

92                              258         No            Grupo         HOLMES, GRAHAM PETER             0.00         0.00          0.00        513.60          513.60 CAD            No
                                                       Aeroméxico,      12 WENONEH DR
            Date Filed:   1/11/2021                   S.A.B. de C.V.    MISSISSAUGA ON L56 3W1
                                                                        CANADA
      Modified Claim            258                    Aerovías de                                       0.00         0.00          0.00        372.97          372.97 USD            No
                                                      México, S.A. de
                                                          C.V.

93                              166         No            Grupo         HOOYENGA, HALEY                  0.00         0.00          0.00       1,520.97        1,520.97 CAD           No
                                                       Aeroméxico,      5711 UNSWORTH RD
            Date Filed:   12/17/2020                  S.A.B. de C.V.    CHILLIWACK BC V2R 3A3
                                                                        CANADA
      Modified Claim            166                    Aerovías de                                       0.00         0.00          0.00       1,104.52        1,104.52 USD           No
                                                      México, S.A. de
                                                          C.V.

94                          14855           No            Grupo         IPINA, JOSUE LEONEL              0.00         0.00          0.00        859.33          859.33 CAD            No
                                                       Aeroméxico,      9635 109 AVE
            Date Filed:   4/22/2021                   S.A.B. de C.V.    GRANDE PRAIRIE AB T8V 1R4
                                                                        CANADA
      Modified Claim        14855                      Aerovías de                                       0.00         0.00          0.00        624.04          624.04 USD            No
                                                      México, S.A. de
                                                          C.V.

95                          11790           No            Grupo         JACKSON, JASMIN                  0.00         0.00          0.00        511.11          511.11 CAD            Yes
                                                       Aeroméxico,      281 TRITON AVE
            Date Filed:    1/5/2021                   S.A.B. de C.V.    WOODBRIDGE ON L4L 6P9
                                                                        CANADA
      Modified Claim        11790                      Aerovías de                                       0.00         0.00          0.00        371.16          371.16 USD            Yes
                                                      México, S.A. de
                                                          C.V.

96                              673         No            Grupo         JADE TRAVEL LTD                  0.00         0.00          0.00       4,309.70        4,309.70 CAD           No
                                                       Aeroméxico,      UNIT 101 50 W WILMOT ST
            Date Filed:   1/21/2021                   S.A.B. de C.V.    RICHMOND HILL ON L4B 1M5
                                                                        CANADA
      Modified Claim            673                    Aerovías de                                       0.00         0.00          0.00       3,129.68        3,129.68 USD           No
                                                      México, S.A. de
                                                          C.V.




                                                                                                                                                                                     Page 16
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                                                                                     Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant     Secured   Administrative   Priority    Unsecured            Total         Unliquidated
97                          20360           No            Grupo         JIMÉNEZ, MARIA DE LA LUZ           0.00         0.00          0.00       1,393.13        1,393.13 EUR           No
                                                       Aeroméxico,      MORALES
            Date Filed:   1/14/2021                   S.A.B. de C.V.    CALLE ISLAS CANARIAS 3, BAJO A
                                                                        10001, CACERES
      Modified Claim        20360                      Aerovías de      SPAIN                              0.00         0.00          0.00       1,561.56        1,561.56 USD           No
                                                      México, S.A. de
                                                          C.V.

98                          14410           No            Grupo         JL GOSLAR ANODEN GMBH              0.00         0.00          0.00       3,175.60        3,175.60 EUR           No
                                                       Aeroméxico,      HUETTENSTRASSE 1A
            Date Filed:   1/15/2021                   S.A.B. de C.V.    ILSENBURG D 38871
                                                                        GERMANY
      Modified Claim        14410                      Aerovías de                                         0.00         0.00          0.00       3,559.53        3,559.53 USD           No
                                                      México, S.A. de
                                                          C.V.

99                          13409           No            Grupo         JUN, JIEUN                         0.00         0.00          0.00        447.00           447.00 GBP           No
                                                       Aeroméxico,      FLAT C 228 LADBROKE GROVE
            Date Filed:   1/13/2021                   S.A.B. de C.V.    LONDON, W10 5LT
                                                                        UNITED KINGDOM
      Modified Claim        13409                      Aerovías de                                         0.00         0.00          0.00        548.49          548.49 USD            No
                                                      México, S.A. de
                                                          C.V.

100                         10559           No            Grupo         KANG, YOUNGMIN                     0.00         0.00          0.00      612,000.00      612,000.00 KRW          No
                                                       Aeroméxico,      102-704
            Date Filed:   12/19/2020                  S.A.B. de C.V.    OLYMPIC-RO 89GIL 58
                                                                        KANGDONG-GU
      Modified Claim        10559                      Aerovías de      SEOUL, 05243                       0.00         0.00          0.00        509.49          509.49 USD            No
                                                      México, S.A. de   REPUBLIC OF KOREA
                                                          C.V.

101                         14351           No            Grupo         KHAGHANIAN, SAYED                  0.00         0.00          0.00         91.00           91.00 GBP            No
                                                       Aeroméxico,      62 PENTWYN BAGLAN ROAD
            Date Filed:   1/15/2021                   S.A.B. de C.V.    BAGLAN
                                                                        PORT TALBOT SA12 8EB
      Modified Claim        14351                      Aerovías de      UNITED KINGDOM                     0.00         0.00          0.00        111.66          111.66 USD            No
                                                      México, S.A. de
                                                          C.V.

102                         13999           No            Grupo         KHAGHANIAN, SAYED                  0.00         0.00          0.00       1,509.00         1,509.00 GBP          No
                                                       Aeroméxico,      62 PENTWYN BAGLAN ROAD
            Date Filed:   1/14/2021                   S.A.B. de C.V.    BAGLAN
                                                                        PORT TALBOT SA12 8EB
      Modified Claim        13999                      Aerovías de      UNITED KINGDOM                     0.00         0.00          0.00       1,851.62        1,851.62 USD           No
                                                      México, S.A. de
                                                          C.V.




                                                                                                                                                                                       Page 17
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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant    Secured   Administrative   Priority    Unsecured            Total         Unliquidated
103                         10570           No            Grupo         KOORN, MARTHIJN                   0.00         0.00          0.00       1,563.73        1,563.73 EUR           No
                                                       Aeroméxico,      BOXBERGERWEG 104
            Date Filed:   12/20/2020                  S.A.B. de C.V.    DEVENTER, 7412BG
                                                                        THE NETHERLANDS
      Modified Claim        10570                      Aerovías de                                        0.00         0.00          0.00       1,752.79        1,752.79 USD           No
                                                      México, S.A. de
                                                          C.V.

104                         14510           No            Grupo         KRAUS, LAURENT GEORGES            0.00         0.00          0.00        800.00          800.00 EUR            No
                                                       Aeroméxico,      LOUIS
            Date Filed:   1/15/2021                   S.A.B. de C.V.    8 RUE DU PROFESSEUR LERICHE
                                                                        SAINTEFOY LES LYON 69110
      Modified Claim        14510                      Aerovías de      FRANCE                            0.00         0.00          0.00        896.72          896.72 USD            No
                                                      México, S.A. de
                                                          C.V.

105                         11444           No            Grupo         KUNST, NOEL                       0.00         0.00          0.00       2,174.04        2,174.04 CAD           No
                                                       Aeroméxico,      #1201 - 10731 SASKATCHEWAN DR
            Date Filed:    1/3/2021                   S.A.B. de C.V.    NW
                                                                        EDMONTON AB T6E 6H1
      Modified Claim        11444                      Aerovías de      CANADA                            0.00         0.00          0.00       1,578.77        1,578.77 USD           No
                                                      México, S.A. de
                                                          C.V.

106                         10612           No            Grupo         LAURER, CHRISTINA                 0.00         0.00          0.00       1,849.64        1,849.64 EUR           Yes
                                                       Aeroméxico,      OBERE AMTSHAUSGASSE 46/4/45
            Date Filed:   12/22/2020                  S.A.B. de C.V.    VIENNA, AT 1050
                                                                        AUSTRIA
      Modified Claim        10612                      Aerovías de                                        0.00         0.00          0.00       2,073.26        2,073.26 USD           Yes
                                                      México, S.A. de
                                                          C.V.

107                         14454           No            Grupo         LEE, YURI                         0.00         0.00          0.00        638.69          638.69 CAD            No
                                                       Aeroméxico,      555 SHERBOURNE ST
            Date Filed:   1/15/2021                   S.A.B. de C.V.    UNIT 1510
                                                                        TORONTO ON M4X 1W6
      Modified Claim        14454                      Aerovías de      CANADA                            0.00         0.00          0.00        463.81          463.81 USD            No
                                                      México, S.A. de
                                                          C.V.

108                         13728           No            Grupo         LEMKE, NIKLAS                     0.00         0.00          0.00        499.98          499.98 EUR            Yes
                                                       Aeroméxico,      GRIEND 43
            Date Filed:   1/14/2021                   S.A.B. de C.V.    DIEMEN 1112 KK
                                                                        NETHERLANDS
      Modified Claim        13728                      Aerovías de                                        0.00         0.00          0.00        560.43          560.43 USD            Yes
                                                      México, S.A. de
                                                          C.V.




                                                                                                                                                                                      Page 18
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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
109                         14181           No            Grupo         LEMOS, KAMILLE DE                0.00         0.00          0.00        933.58          933.58 CAD            No
                                                       Aeroméxico,      208-13550 HILTON
            Date Filed:   1/14/2021                   S.A.B. de C.V.    SURREY BC V3R 574
                                                                        CANADA
      Modified Claim        14181                      Aerovías de                                       0.00         0.00          0.00        677.96          677.96 USD            No
                                                      México, S.A. de
                                                          C.V.

110                         14808           No            Grupo         LINDLOGE, UWE                    0.00         0.00          0.00        527.90          527.90 EUR            No
                                                       Aeroméxico,      GALLBERGSTIEG 61
            Date Filed:    3/8/2021                   S.A.B. de C.V.    HILDESHEIM 31137
                                                                        DEUTSCHLAND
      Modified Claim        14808                      Aerovías de                                       0.00         0.00          0.00        591.72          591.72 USD            No
                                                      México, S.A. de
                                                          C.V.

111                         11582           No            Grupo         LINES, DAVID P                   0.00         0.00          0.00       1,584.08        1,584.08 CAD           No
                                                       Aeroméxico,      2083 WESTMORE AVE, UNIT 3
            Date Filed:    1/4/2021                   S.A.B. de C.V.    MONTREAL QC H4B 1Z5
                                                                        CANADA
      Modified Claim        11582                      Aerovías de                                       0.00         0.00          0.00       1,150.35        1,150.35 USD           No
                                                      México, S.A. de
                                                          C.V.

112                         20262           No            Grupo         LOPEZ FERREIRO, MANUEL           0.00         0.00          0.00        628.00          628.00 EUR            Yes
                                                       Aeroméxico,      ANGEL
            Date Filed:   1/13/2021                   S.A.B. de C.V.    ROSALIA DE CASTRO, 29, 6 I
                                                                        SANTIAGO DE COMPATELA 15701
      Modified Claim        20262                      Aerovías de      SPAIN                            0.00         0.00          0.00        703.93          703.93 USD            Yes
                                                      México, S.A. de
                                                          C.V.

113                         20104           No            Grupo         LOPEZ, EDUARDO IVAN ANDREU       0.00         0.00          0.00       2,676.70        2,676.70 EUR           No
                                                       Aeroméxico,      C/ MADERA 16
            Date Filed:   12/13/2020                  S.A.B. de C.V.    URBANIZACION SEVILL-GOLF
                                                                        ALCALA DE GUADAIRA, SE 41500
      Modified Claim        20104                      Aerovías de      SPAIN                            0.00         0.00          0.00       3,000.31        3,000.31 USD           No
                                                      México, S.A. de
                                                          C.V.

114                         14049           No            Grupo         LOPEZ, JUAN CARLOS GUTIERREZ     0.00         0.00          0.00        921.99          921.99 EUR            No
                                                       Aeroméxico,      HEINESTRAßE 30
            Date Filed:   1/14/2021                   S.A.B. de C.V.    STIEGE 2, APPARTEMENT 16
                                                                        VIENNA 1020
      Modified Claim        14049                      Aerovías de      AUSTRIA                          0.00         0.00          0.00       1,033.46        1,033.46 USD           No
                                                      México, S.A. de
                                                          C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured             Total        Unliquidated
115                         14531           No            Grupo         LOWRY, CONOR                     0.00         0.00          0.00       1,048.00         1,048.00 GBP          No
                                                       Aeroméxico,      20A KIMBER ROAD
            Date Filed:   1/15/2021                   S.A.B. de C.V.    EARLSFIELD
                                                                        LONDON SW18 4NP
      Modified Claim        14531                      Aerovías de      UNITED KINGDOM                   0.00         0.00          0.00       1,285.95        1,285.95 USD           No
                                                      México, S.A. de
                                                          C.V.

116                         13470           No            Grupo         LUEBLINGHOFF, JULIA              0.00         0.00          0.00       2,869.67        2,869.67 EUR           Yes
                                                       Aeroméxico,      WIGANDSTALER STRAßE 1
            Date Filed:   1/13/2021                   S.A.B. de C.V.    BERLIN, 13086
                                                                        GERMANY
      Modified Claim        13470                      Aerovías de                                       0.00         0.00          0.00       3,216.61        3,216.61 USD           Yes
                                                      México, S.A. de
                                                          C.V.

117                         10433           No            Grupo         LUXSUWONG, CHAYANIS              0.00         0.00          0.00       1,628.92         1,628.92 GBP          No
                                                       Aeroméxico,      FLAT 708 KITSON HOUSE
            Date Filed:   12/13/2020                  S.A.B. de C.V.    6 CORSICAN SQUARE
                                                                        LONDON E3 3YB
      Modified Claim        10433                      Aerovías de      UNITED KINGDOM                   0.00         0.00          0.00       1,998.76        1,998.76 USD           No
                                                      México, S.A. de
                                                          C.V.

118                         10500           No            Grupo         MATEO, SERGI POUS                0.00         0.00          0.00        784.13          784.13 EUR            No
                                                       Aeroméxico,      C/. MANUEL CARRASCO I
            Date Filed:   12/16/2020                  S.A.B. de C.V.    FORMIGUERA Nº 4 B
                                                                        CARDEDEU, ES 08440
      Modified Claim        10500                      Aerovías de      SPAIN                            0.00         0.00          0.00        878.93          878.93 USD            No
                                                      México, S.A. de
                                                          C.V.

119                         13990           No            Grupo         MATTHEWS, KEVIN                  0.00         0.00          0.00       1,200.27         1,200.27 GBP          No
                                                       Aeroméxico,      2 SCHOOL TERRACE
            Date Filed:   1/14/2021                   S.A.B. de C.V.    NORTHRBRIDGE STREET
                                                                        ROBERTSBRIDGE TN32 5NS
      Modified Claim        13990                      Aerovías de      UNITED KINGDOM                   0.00         0.00          0.00       1,472.79        1,472.79 USD           No
                                                      México, S.A. de
                                                          C.V.

120                         13445           No            Grupo         MEOUCH, ORYSIA                   0.00         0.00          0.00       2,086.00        2,086.00 CAD           No
                                                       Aeroméxico,      2360 BONNER RD, APT 306
            Date Filed:   1/13/2021                   S.A.B. de C.V.    MISSISSAUGA ON L5J 2C7
                                                                        CANADA
      Modified Claim        13445                      Aerovías de                                       0.00         0.00          0.00       1,514.84        1,514.84 USD           No
                                                      México, S.A. de
                                                          C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
121                         10334           No            Grupo         MESSAOUDI, ELODIE                0.00         0.00          0.00       1,541.34        1,541.34 EUR           No
                                                       Aeroméxico,      21 RUE DU COMMANDANT
            Date Filed:   12/9/2020                   S.A.B. de C.V.    RIVIERE
                                                                        SURESNES 92150
      Modified Claim        10334                      Aerovías de      FRANCE                           0.00         0.00          0.00       1,727.69        1,727.69 USD           No
                                                      México, S.A. de
                                                          C.V.

122                         20506           No            Grupo         MIGUEL, ANA TORRES DE            0.00         0.00          0.00        310.00          310.00 EUR            Yes
                                                       Aeroméxico,      CALLE ALBAHACA 1 ESCALERA 3
            Date Filed:   1/30/2021                   S.A.B. de C.V.    4G
                                                                        GRANADA 18006
      Modified Claim        20506                      Aerovías de      SPAIN                            0.00         0.00          0.00        347.48          347.48 USD            Yes
                                                      México, S.A. de
                                                          C.V.

123                         14123           No            Grupo         MILDENBERGER, COURTNEY           0.00         0.00          0.00       1,223.98        1,223.98 CAD           No
                                                       Aeroméxico,      17-555 ROCKLAND ROAD
            Date Filed:   1/14/2021                   S.A.B. de C.V.    CAMPBELL RIVER BC V9W 8B7
                                                                        CANADA
      Modified Claim        14123                      Aerovías de                                       0.00         0.00          0.00        888.85          888.85 USD            No
                                                      México, S.A. de
                                                          C.V.

124                         14877           No            Grupo         MILLER, DUSTIN                   0.00         0.00          0.00        903.60          903.60 CAD            No
                                                       Aeroméxico,      501-1010 VIEW ST
            Date Filed:   6/14/2021                   S.A.B. de C.V.    VICTORIA BC V8V 4Y3
                                                                        CANADA
      Modified Claim        14877                      Aerovías de                                       0.00         0.00          0.00        656.19          656.19 USD            No
                                                      México, S.A. de
                                                          C.V.

125                         10425           No            Grupo         NACPIL, CIELO                    0.00         0.00          0.00       1,340.94        1,340.94 CAD           No
                                                       Aeroméxico,      2816 E 4TH AVE
            Date Filed:   12/13/2020                  S.A.B. de C.V.    VANCOUVER BC V5M 1K8
                                                                        CANADA
      Modified Claim        10425                      Aerovías de                                       0.00         0.00          0.00        973.78          973.78 USD            No
                                                      México, S.A. de
                                                          C.V.

126                         14780           No            Grupo         NAKAGO, HIROKI                   0.00         0.00          0.00       97,857.00       97,857.00 TWD          No
                                                       Aeroméxico,      1002-2-19-3 HIGASHI-SHINGAWA
            Date Filed:   2/17/2021                   S.A.B. de C.V.    SHINAGAWA-KU, TOKYO 140-0002
                                                                        JAPAN
      Modified Claim        14780                      Aerovías de                                       0.00         0.00          0.00       3,322.73        3,322.73 USD           No
                                                      México, S.A. de
                                                          C.V.




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11th Omnibus Claims Objection                                                          Pg 52 of 732
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                                                                                    Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
127                         14649          No            Grupo         NAVIA, CARLOS                    0.00         0.00          0.00        776.32          776.32 CAD            No
                                                      Aeroméxico,      139 W 22ND ST, UNIT 501
            Date Filed:   1/15/2021                  S.A.B. de C.V.    NORTH VANCOUVER BC V7M 0B5
                                                                       CANADA
      Modified Claim       14649                      Aerovías de                                       0.00         0.00          0.00        563.76          563.76 USD            No
                                                     México, S.A. de
                                                         C.V.

128                        13496           No            Grupo         NEWLANDS, CAMERON                0.00         0.00          0.00        994.00          994.00 AUD            No
                                                      Aeroméxico,      23 ST THOMAS LOOP
            Date Filed:   1/13/2021                  S.A.B. de C.V.    ILUKA WA 6028
                                                                       AUSTRALIA
      Modified Claim       13496                      Aerovías de                                       0.00         0.00          0.00        682.18          682.18 USD            No
                                                     México, S.A. de
                                                         C.V.

129                        14421           No            Grupo         NOLAN, CHRISTI                   0.00         0.00          0.00        523.31          523.31 CAD            No
                                                      Aeroméxico,      159 STONE CHURCH ROAD EAST
            Date Filed:   1/15/2021                  S.A.B. de C.V.    HAMILTON ON L9B 1A8
                                                                       CANADA
      Modified Claim       14421                      Aerovías de                                       0.00         0.00          0.00        380.02          380.02 USD            No
                                                     México, S.A. de
                                                         C.V.

130                        11799           No            Grupo         OFFENBACHER, DANIELLE            0.00         0.00          0.00       1,438.38        1,438.38 CAD           No
                                                      Aeroméxico,      707 DOVERCOURT RD, UNIT 205
            Date Filed:   1/5/2021                   S.A.B. de C.V.    TORONTO ON M6H 2W7
                                                                       CANADA
      Modified Claim       11799                      Aerovías de                                       0.00         0.00          0.00       1,044.54        1,044.54 USD           No
                                                     México, S.A. de
                                                         C.V.

131                        11439           No            Grupo         ORTMANN, INGO                    0.00         0.00          0.00       2,194.57        2,194.57 EUR           No
                                                      Aeroméxico,      BAILLEULER STRABE 10A
            Date Filed:   1/3/2021                   S.A.B. de C.V.    WERNE, 59368
                                                                       GERMANY
      Modified Claim       11439                      Aerovías de                                       0.00         0.00          0.00       2,459.89        2,459.89 USD           No
                                                     México, S.A. de
                                                         C.V.

132                        13995           No            Grupo         OUEST CONTACT TRAVEL             0.00         0.00          0.00       3,916.00        3,916.00 EUR           No
                                                      Aeroméxico,      AGENCY
            Date Filed:   1/14/2021                  S.A.B. de C.V.    7 QUAI MARECHAL JOFFRE
                                                                       LANNION 22300
      Modified Claim       13995                      Aerovías de      FRANCE                           0.00         0.00          0.00       4,389.44        4,389.44 USD           No
                                                     México, S.A. de
                                                         C.V.




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11th Omnibus Claims Objection                                                            Pg 53 of 732
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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
133                         10552           No            Grupo         PAQUETTE, TANYA                  0.00         0.00          0.00        907.13          907.13 CAD            No
                                                       Aeroméxico,      52-18181 68 AVE
            Date Filed:   12/18/2020                  S.A.B. de C.V.    SURREY BC V3S 9J1
                                                                        CANADA
      Modified Claim        10552                      Aerovías de                                       0.00         0.00          0.00        658.75          658.75 USD            No
                                                      México, S.A. de
                                                          C.V.

134                         14418           No            Grupo         PARDE, KARINE                    0.00         0.00          0.00       2,542.08         2,542.08 GBP          No
                                                       Aeroméxico,      32A BRAMSHILL GARDENS
            Date Filed:   1/15/2021                   S.A.B. de C.V.    LONDON NW5 1JH
                                                                        UNITED KINGDOM
      Modified Claim        14418                      Aerovías de                                       0.00         0.00          0.00       3,119.26        3,119.26 USD           No
                                                      México, S.A. de
                                                          C.V.

135                         20320           No            Grupo         PEREZ DE LOZA, ANE ARREGUI       0.00         0.00          0.00        897.26          897.26 EUR            Yes
                                                       Aeroméxico,      PLAZA AMARICA 3 2DCHA
            Date Filed:   1/14/2021                   S.A.B. de C.V.    VITORIA-GASTEIZ 01005
                                                                        SPAIN
      Modified Claim        20320                      Aerovías de                                       0.00         0.00          0.00       1,005.74        1,005.74 USD           Yes
                                                      México, S.A. de
                                                          C.V.

136                         10560           No            Grupo         PICHE, CLAUDE                    0.00         0.00          0.00        624.36          624.36 CAD            No
                                                       Aeroméxico,      1065 DEVEAU
            Date Filed:   12/19/2020                  S.A.B. de C.V.    TROIS RIVIERES QC G8V 1N6
                                                                        CANADA
      Modified Claim        10560                      Aerovías de                                       0.00         0.00          0.00        453.41          453.41 USD            No
                                                      México, S.A. de
                                                          C.V.

137                         20409           No            Grupo         PICOS, LAURA MUÑOZ               0.00         0.00          0.00       1,198.89        1,198.89 EUR           No
                                                       Aeroméxico,      CALLE ALAMO, 4. VILLANUEVA
            Date Filed:   1/15/2021                   S.A.B. de C.V.    DE LA CAÑADA
                                                                        MADRID 28691
      Modified Claim        20409                      Aerovías de      SPAIN                            0.00         0.00          0.00       1,343.84        1,343.84 USD           No
                                                      México, S.A. de
                                                          C.V.

138                         20376           No            Grupo         PIRIS, MARIA YOLANDA ROQUE       0.00         0.00          0.00       1,353.23        1,353.23 EUR           No
                                                       Aeroméxico,      GRUPO AIEGA, Nº 36 - 1º A
            Date Filed:   1/14/2021                   S.A.B. de C.V.    ORTUELLA 48530
                                                                        SPAIN
      Modified Claim        20376                      Aerovías de                                       0.00         0.00          0.00       1,516.84        1,516.84 USD           No
                                                      México, S.A. de
                                                          C.V.




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                                                                                      Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
139                         13372          No            Grupo         PLANQUE, RICO                    0.00         0.00          0.00       1,135.98        1,135.98 EUR           No
                                                      Aeroméxico,      GROENLOSEWEG 51
            Date Filed:   1/13/2021                  S.A.B. de C.V.    RUURLO, 7261RM
                                                                       THE NETHERLANDS
      Modified Claim       13372                      Aerovías de                                       0.00         0.00          0.00       1,273.32        1,273.32 USD           No
                                                     México, S.A. de
                                                         C.V.

140                        14733           No            Grupo         POPESCU, ANTONIO TEDDY           0.00         0.00          0.00       1,607.45        1,607.45 EUR           No
                                                      Aeroméxico,      POPESCU
            Date Filed:   1/24/2021                  S.A.B. de C.V.    4133 VIA MARINA, #208
                                                                       MARINA DEL REY CA 90292
      Modified Claim       14733                      Aerovías de                                       0.00         0.00          0.00       1,801.79        1,801.79 USD           No
                                                     México, S.A. de
                                                         C.V.

141                        20486           No            Grupo         PORTILLO, IVAN BROWN             0.00         0.00          0.00       5,290.00        5,290.00 EUR           Yes
                                                      Aeroméxico,      CALLE LOMITAS #11102 PUEBLO
            Date Filed:   1/15/2021                  S.A.B. de C.V.    BONITO
                                                                       TIJUANA BC 22034
      Modified Claim       20486                      Aerovías de      MEXICO                           0.00         0.00          0.00       5,929.56        5,929.56 USD           Yes
                                                     México, S.A. de
                                                         C.V.

142                        14090           No            Grupo         RAMEY, BILLIE JO                 0.00         0.00          0.00        487.31          487.31 CAD            No
                                                      Aeroméxico,      1065 BARRINGTON STREET, #611
            Date Filed:   1/14/2021                  S.A.B. de C.V.    HALIFAX NS B3H 0B7
                                                                       CANADA
      Modified Claim       14090                      Aerovías de                                       0.00         0.00          0.00        353.88          353.88 USD            No
                                                     México, S.A. de
                                                         C.V.

143                        14859           No            Grupo         REDELIJK, SIDNEY                 0.00         0.00          0.00       1,476.98        1,476.98 EUR           No
                                                      Aeroméxico,      MOLENSTRAAT 44F
            Date Filed:   4/29/2021                  S.A.B. de C.V.    TILBURG 5014ND
                                                                       THE NETHERLANDS
      Modified Claim       14859                      Aerovías de                                       0.00         0.00          0.00       1,655.55        1,655.55 USD           No
                                                     México, S.A. de
                                                         C.V.

144                        13998           No            Grupo         RENAUD, ALISHA                   0.00         0.00          0.00       1,029.81        1,029.81 CAD           Yes
                                                      Aeroméxico,      161 MARGOLIN DR
            Date Filed:   1/14/2021                  S.A.B. de C.V.    SALTSPRING ISLAND BC V8K 1C9
                                                                       CANADA
      Modified Claim       13998                      Aerovías de                                       0.00         0.00          0.00        747.84          747.84 USD            Yes
                                                     México, S.A. de
                                                         C.V.




                                                                                                                                                                                    Page 24
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                                                                                     Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
145                         10663           No            Grupo         RICARD, CHRIS                    0.00         0.00          0.00       1,211.53        1,211.53 CAD           No
                                                       Aeroméxico,      506 FAIRWAY DR
            Date Filed:   12/24/2020                  S.A.B. de C.V.    NORTH VANCOUVER BC V7G 1L6
                                                                        CANADA
      Modified Claim        10663                      Aerovías de                                       0.00         0.00          0.00        879.81          879.81 USD            No
                                                      México, S.A. de
                                                          C.V.

146                             196         No            Grupo         RICHARDSON, MARK                 0.00         0.00          0.00       1,867.20         1,867.20 GBP          No
                                                       Aeroméxico,      11 EASTFIELD LN
            Date Filed:   12/28/2020                  S.A.B. de C.V.    WELTON, LINCOLN LN2 3NA
                                                                        UNITED KINGDOM
      Modified Claim            196                    Aerovías de                                       0.00         0.00          0.00       2,291.15        2,291.15 USD           No
                                                      México, S.A. de
                                                          C.V.

147                         20313           No            Grupo         ROCHOTTE, ALAIN                  0.00         0.00          0.00       1,475.99        1,475.99 EUR           No
                                                       Aeroméxico,      3 B CHEMIN DE TITANIS
            Date Filed:   1/14/2021                   S.A.B. de C.V.    ROQUES SUR GARONNE 31120
                                                                        FRANCE
      Modified Claim        20313                      Aerovías de                                       0.00         0.00          0.00       1,654.44        1,654.44 USD           No
                                                      México, S.A. de
                                                          C.V.

148                         13440           No            Grupo         RODRIGUE, FRANCOIS               0.00         0.00          0.00        620.00          620.00 CAD            No
                                                       Aeroméxico,      1565 ALEXIS NIHON
            Date Filed:   1/13/2021                   S.A.B. de C.V.    ST-LAURENT QC H4R 2R6
                                                                        CANADA
      Modified Claim        13440                      Aerovías de                                       0.00         0.00          0.00        450.24          450.24 USD            No
                                                      México, S.A. de
                                                          C.V.

149                         12776           No            Grupo         ROSALES, TALIA                   0.00         0.00          0.00       1,542.62        1,542.62 CAD           No
                                                       Aeroméxico,      27 W 15TH AVE
            Date Filed:   1/11/2021                   S.A.B. de C.V.    VANCOUVER BC V5Y 1X7
                                                                        CANADA
      Modified Claim        12776                      Aerovías de                                       0.00         0.00          0.00       1,120.24        1,120.24 USD           No
                                                      México, S.A. de
                                                          C.V.

150                         13805           No            Grupo         ROTHAMSTED RESEARCH              0.00         0.00          0.00       1,370.99         1,370.99 GBP          No
                                                       Aeroméxico,      ATTN MATTHEW PAUL
            Date Filed:   1/14/2021                   S.A.B. de C.V.    WEST COMMON
                                                                        HARPENDEN H AL5 2JQ
      Modified Claim        13805                      Aerovías de      UNITED KINGDOM                   0.00         0.00          0.00       1,682.27        1,682.27 USD           No
                                                      México, S.A. de
                                                          C.V.




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                                                                                      Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant    Secured   Administrative   Priority    Unsecured            Total         Unliquidated
151                         11622          No            Grupo         ROY, CLAUDE                       0.00         0.00          0.00       1,783.10        1,783.10 CAD           No
                                                      Aeroméxico,      349 RUE MONTROSE
            Date Filed:   1/4/2021                   S.A.B. de C.V.    ROSEMERE QC J7A 2W1
                                                                       CANADA
      Modified Claim       11622                      Aerovías de                                        0.00         0.00          0.00       1,294.88        1,294.88 USD           No
                                                     México, S.A. de
                                                         C.V.

152                        14658           No            Grupo         RUSSO, MARCO                      0.00         0.00          0.00       2,389.28        2,389.28 EUR           No
                                                      Aeroméxico,      CALLE FERNANDO GABRIEL 2 3B
            Date Filed:   1/15/2021                  S.A.B. de C.V.    MADRID 28017
                                                                       SPAIN
      Modified Claim       14658                      Aerovías de                                        0.00         0.00          0.00       2,678.14        2,678.14 USD           No
                                                     México, S.A. de
                                                         C.V.

153                        13867           No            Grupo         SALASC, JULIEN                    0.00         0.00          0.00       2,125.46        2,125.46 EUR           No
                                                      Aeroméxico,      35 BIS RUE DE JAUSSERAND
            Date Filed:   1/14/2021                  S.A.B. de C.V.    APPARTEMENT 14
                                                                       RÉSIDENCE SO PUR
      Modified Claim       13867                      Aerovías de      MONTPELLIER FR 34000              0.00         0.00          0.00       2,382.43        2,382.43 USD           No
                                                     México, S.A. de   FRANCE
                                                         C.V.

154                        20264           No            Grupo         SALVANS, ALBERT AUSIRO            0.00         0.00          0.00       1,950.00        1,950.00 EUR           No
                                                      Aeroméxico,      PLAÇA MAJOR, 9
            Date Filed:   1/13/2021                  S.A.B. de C.V.    SANT JULIA DE VILATORTA 08504
                                                                       SPAIN
      Modified Claim       20264                      Aerovías de                                        0.00         0.00          0.00       2,185.76        2,185.76 USD           No
                                                     México, S.A. de
                                                         C.V.

155                        14852           No            Grupo         SARL EVASION 2000                 0.00         0.00          0.00       1,618.00        1,618.00 EUR           No
                                                      Aeroméxico,      4 RUE DESPOURRINS
            Date Filed:   4/15/2021                  S.A.B. de C.V.    OLORON SAINTE MARIE FR 64402
                                                                       FRANCE
      Modified Claim       14852                      Aerovías de                                        0.00         0.00          0.00       1,813.62        1,813.62 USD           No
                                                     México, S.A. de
                                                         C.V.

156                        11606           No            Grupo         SAUVEUR, SANDRINE DE SAINT        0.00         0.00          0.00       12,327.22       12,327.22 EUR          No
                                                      Aeroméxico,      173 BOULEVARD PEREIRE
            Date Filed:   1/4/2021                   S.A.B. de C.V.    PARIS, 75017
                                                                       FRANCE
      Modified Claim       11606                      Aerovías de                                        0.00         0.00          0.00       13,817.58       13,817.58 USD          No
                                                     México, S.A. de
                                                         C.V.




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                                                                                                                                                 Case No 20-11563 (SCC) Jointly Administered

                                                                                      Wrong Debtor Claims

Ref                        Claim #     Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
157                         13439          No            Grupo         SCHRAMM, JOHANNA                 0.00         0.00          0.00       1,279.00        1,279.00 EUR           No
                                                      Aeroméxico,      OBERBINGE 6
            Date Filed:   1/13/2021                  S.A.B. de C.V.    KASSEL, 34130
                                                                       GERMANY
      Modified Claim       13439                      Aerovías de                                       0.00         0.00          0.00       1,433.63        1,433.63 USD           No
                                                     México, S.A. de
                                                         C.V.

158                        14021           No            Grupo         SCHULTZ, MAGALY                  0.00         0.00          0.00       2,290.59        2,290.59 EUR           Yes
                                                      Aeroméxico,      1 ALLEE DU BAS CHAMP
            Date Filed:   1/14/2021                  S.A.B. de C.V.    CHERBOURG EN COTENTIN 50460
                                                                       FRANCE
      Modified Claim       14021                      Aerovías de                                       0.00         0.00          0.00       2,567.52        2,567.52 USD           Yes
                                                     México, S.A. de
                                                         C.V.

159                        13801           No            Grupo         SHEARD, JULIE                    0.00         0.00          0.00       1,430.00        1,430.00 AUD           No
                                                      Aeroméxico,      3/5 MANTON STREET
            Date Filed:   1/14/2021                  S.A.B. de C.V.    RICHMOND VI 3124
                                                                       AUSTRALIA
      Modified Claim       13801                      Aerovías de                                       0.00         0.00          0.00        981.41          981.41 USD            No
                                                     México, S.A. de
                                                         C.V.

160                        11261           No            Grupo         SHI, XUN XUN                     0.00         0.00          0.00        637.84          637.84 CAD            No
                                                      Aeroméxico,      1279 MCWATTERS RD
            Date Filed:   1/1/2021                   S.A.B. de C.V.    OTTAWA ON K2C 3E7
                                                                       CANADA
      Modified Claim       11261                      Aerovías de                                       0.00         0.00          0.00        463.20          463.20 USD            No
                                                     México, S.A. de
                                                         C.V.

161                        12450           No            Grupo         SIMONIN, ELISE                   0.00         0.00          0.00        772.72          772.72 EUR            No
                                                      Aeroméxico,      33 RUE JACQUES HILLAIRET
            Date Filed:   1/10/2021                  S.A.B. de C.V.    PARIS, 75012
                                                                       FRANCE
      Modified Claim       12450                      Aerovías de                                       0.00         0.00          0.00        866.14          866.14 USD            No
                                                     México, S.A. de
                                                         C.V.

162                        13912           No            Grupo         SIMONS, GUUS                     0.00         0.00          0.00        577.81          577.81 EUR            No
                                                      Aeroméxico,      PATER DE LEEUWSTRAAT 47
            Date Filed:   1/14/2021                  S.A.B. de C.V.    5741EE BEEK EN DONK
                                                                       NEDERLAND
      Modified Claim       13912                      Aerovías de      BEEK EN DONK 574 1EE             0.00         0.00          0.00        647.67          647.67 USD            No
                                                     México, S.A. de   THE NETHERLANDS
                                                         C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured             Total        Unliquidated
163                         13434           No            Grupo         SMITH, ANDRIENE                  0.00         0.00          0.00       1,058.00         1,058.00 GBP          No
                                                       Aeroméxico,      119E HONOR OAK PARK
            Date Filed:   1/13/2021                   S.A.B. de C.V.    LONDON, SE23 3LD
                                                                        UNITED KINGDOM
      Modified Claim        13434                      Aerovías de                                       0.00         0.00          0.00       1,298.22        1,298.22 USD           No
                                                      México, S.A. de
                                                          C.V.

164                         12621           No            Grupo         SO, SANDY                        0.00         0.00          0.00       8,558.00        8,558.00 HKD           No
                                                       Aeroméxico,      3/F, 578 FUK WA STREET
            Date Filed:   1/11/2021                   S.A.B. de C.V.    CHEUNG SHA WAN
                                                                        KOWLOON
      Modified Claim        12621                      Aerovías de      HONG KONG                        0.00         0.00          0.00       1,102.69        1,102.69 USD           No
                                                      México, S.A. de
                                                          C.V.

165                         13369           No            Grupo         SOLER, MORITZ ANTON              0.00         0.00          0.00       4,198.97         4,198.97 CHF          No
                                                       Aeroméxico,      SONNENBERGSTR. NR. 35
            Date Filed:   1/13/2021                   S.A.B. de C.V.    THALWIL, ZH 8800
                                                                        SWITZERLAND
      Modified Claim        13369                      Aerovías de                                       0.00         0.00          0.00       4,408.88        4,408.88 USD           No
                                                      México, S.A. de
                                                          C.V.

166                         14250           No            Grupo         SON, EUNSUN                      0.00         0.00          0.00       2,673.02        2,673.02 CAD           No
                                                       Aeroméxico,      4070 AV BENNY
            Date Filed:   1/14/2021                   S.A.B. de C.V.    #209
                                                                        MONTREAL QC H4B 2R8
      Modified Claim        14250                      Aerovías de      CANADA                           0.00         0.00          0.00       1,941.13        1,941.13 USD           No
                                                      México, S.A. de
                                                          C.V.

167                         13262           No            Grupo         SONHERA, EDMORE                  0.00         0.00          0.00        402.00           402.00 GBP           No
                                                       Aeroméxico,      10
            Date Filed:   1/13/2021                   S.A.B. de C.V.    BROOKDALE ROAD
                                                                        LEICESTER
      Modified Claim        13262                      Aerovías de      LEICESTER LE36PU                 0.00         0.00          0.00        493.27          493.27 USD            No
                                                      México, S.A. de   UNITED KINGDOM
                                                          C.V.

168                         11218           No            Grupo         STRIJBOSCH, IDA JOHANNA          0.00         0.00          0.00       1,166.16        1,166.16 EUR           No
                                                       Aeroméxico,      CATHARINA MARIA
            Date Filed:   12/31/2020                  S.A.B. de C.V.    MOOSTENSTRAAT 30
                                                                        NEERKANT 5758RX
      Modified Claim        11218                      Aerovías de      THE NETHERLANDS                  0.00         0.00          0.00       1,307.15        1,307.15 USD           No
                                                      México, S.A. de
                                                          C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured           Total          Unliquidated
169                         14440           No            Grupo         SUCCES VOYAGE                    0.00         0.00          0.00        163.39          163.39 EUR           Yes
                                                       Aeroméxico,      164 RUE DE COURCELLES
            Date Filed:   1/15/2021                   S.A.B. de C.V.    PARIS 75017
                                                                        FRANCE
      Modified Claim        14440                      Aerovías de                                       0.00         0.00          0.00        183.14          183.14 USD            Yes
                                                      México, S.A. de
                                                          C.V.

170                         10395           No            Grupo         TEGART, SHEILA                   0.00         0.00          0.00       4,231.77        4,231.77 CAD           No
                                                       Aeroméxico,      BOX 45002 STN R
            Date Filed:   12/11/2020                  S.A.B. de C.V.    221-40 KETTLEVIEW RD
                                                                        KELOWNA BC V1P 1P3
      Modified Claim        10395                      Aerovías de      CANADA                           0.00         0.00          0.00       3,073.08        3,073.08 USD           No
                                                      México, S.A. de
                                                          C.V.

171                         13993           No            Grupo         TENNET, BEN                      0.00         0.00          0.00       1,772.98         1,772.98 GBP          No
                                                       Aeroméxico,      79 RODBOURGH ROAD
            Date Filed:   1/14/2021                   S.A.B. de C.V.    DORRIDGE SOLIHULL B93 8EG
                                                                        UNITED KINGDOM
      Modified Claim        13993                      Aerovías de                                       0.00         0.00          0.00       2,175.53        2,175.53 USD           No
                                                      México, S.A. de
                                                          C.V.

172                         13516           No            Grupo         TESCH, CHELSEA                   0.00         0.00          0.00        662.00          662.00 CAD            No
                                                       Aeroméxico,      #2 8335 169A ST
            Date Filed:   1/13/2021                   S.A.B. de C.V.    SURREY BC V4N 4V1
                                                                        CANADA
      Modified Claim        13516                      Aerovías de                                       0.00         0.00          0.00        480.74          480.74 USD            No
                                                      México, S.A. de
                                                          C.V.

173                         20261           No            Grupo         THIZY, LAURINE                   0.00         0.00          0.00        150.00          150.00 EUR            No
                                                       Aeroméxico,      6 RUE RAMEL
            Date Filed:   1/13/2021                   S.A.B. de C.V.    MONTPELLIER 34000
                                                                        FRANCE
      Modified Claim        20261                      Aerovías de                                       0.00         0.00          0.00        168.14          168.14 USD            No
                                                      México, S.A. de
                                                          C.V.

174                         14018           No            Grupo         TITULAER, JULIETTE               0.00         0.00          0.00       1,460.50        1,460.50 EUR           No
                                                       Aeroméxico,      ADMIRAAL DE RUIJTERWEG 318C
            Date Filed:   1/14/2021                   S.A.B. de C.V.    AMSTERDAM 1055MX
                                                                        NETHERLANDS
      Modified Claim        14018                      Aerovías de                                       0.00         0.00          0.00       1,637.07        1,637.07 USD           No
                                                      México, S.A. de
                                                          C.V.




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                                                                                     Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant      Secured   Administrative   Priority    Unsecured            Total         Unliquidated
175                         13464           No            Grupo         TONDELLIER LOU ALAIN DANIEL         0.00         0.00          0.00        385.17          385.17 CAD            No
                                                       Aeroméxico,      FIRMIN
            Date Filed:   1/13/2021                   S.A.B. de C.V.    4125 AVE DE L'ESPLANADE, APT 2
                                                                        MONTREAL QC H2W 1S9
      Modified Claim        13464                      Aerovías de      CANADA                              0.00         0.00          0.00        279.71          279.71 USD            No
                                                      México, S.A. de
                                                          C.V.

176                         12912           No            Grupo         TRAVEL CONNAISSEURS                 0.00         0.00          0.00       2,766.70        2,766.70 EUR           No
                                                       Aeroméxico,      1 RUE JEAN FERAUD
            Date Filed:   1/12/2021                   S.A.B. de C.V.    CAGNES SUR MER 06800
                                                                        FRANCE
      Modified Claim        12912                      Aerovías de                                          0.00         0.00          0.00       3,101.19        3,101.19 USD           No
                                                      México, S.A. de
                                                          C.V.

177                         14524           No            Grupo         TROTTIER, ALICE B                   0.00         0.00          0.00        785.69          785.69 CAD            No
                                                       Aeroméxico,      58 RUE DE LA PL COUTURE
            Date Filed:   1/15/2021                   S.A.B. de C.V.    LÉVIS QC G6J0J4
                                                                        CANADA
      Modified Claim        14524                      Aerovías de                                          0.00         0.00          0.00        570.56          570.56 USD            No
                                                      México, S.A. de
                                                          C.V.

178                         14007           No            Grupo         TUTTY, JENNY                        0.00         0.00          0.00       1,506.00         1,506.00 GBP          No
                                                       Aeroméxico,      FLAT 38, 47 GAINSFORD ROAD
            Date Filed:   1/14/2021                   S.A.B. de C.V.    LONDON E17 6ZL
                                                                        UNITED KINGDOM
      Modified Claim        14007                      Aerovías de                                          0.00         0.00          0.00       1,847.94        1,847.94 USD           No
                                                      México, S.A. de
                                                          C.V.

179                         10448           No            Grupo         VEGA, LUIS LOPEZ                    0.00         0.00          0.00       1,443.16        1,443.16 EUR           Yes
                                                       Aeroméxico,      CALLE CASTILLO DE ALEDO, 76, (-
            Date Filed:   12/14/2020                  S.A.B. de C.V.    1A)
                                                                        MOLINA DE SEGURA, MU 30506
      Modified Claim        10448                      Aerovías de      SPAIN                               0.00         0.00          0.00       1,617.64        1,617.64 USD           Yes
                                                      México, S.A. de
                                                          C.V.

180                         12189           No            Grupo         VENTURA, BROOKE                     0.00         0.00          0.00       1,331.98        1,331.98 CAD           No
                                                       Aeroméxico,      27 LOCKS RD
            Date Filed:    1/8/2021                   S.A.B. de C.V.    BRANTFORD ON N3S 6Z1
                                                                        CANADA
      Modified Claim        12189                      Aerovías de                                          0.00         0.00          0.00        967.28          967.28 USD            No
                                                      México, S.A. de
                                                          C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured             Total         Unliquidated
181                         11572           No            Grupo         VIA LIPPKE                       0.00         0.00          0.00       1,211.01         1,211.01 EUR          Yes
                                                       Aeroméxico,      FEHRBELLINER STR 31
            Date Filed:    1/4/2021                   S.A.B. de C.V.    MITTE
                                                                        BERLIN 10119
      Modified Claim        11572                      Aerovías de      GERMANY                          0.00         0.00          0.00        1,357.42        1,357.42 USD           Yes
                                                      México, S.A. de
                                                          C.V.

182                         20448           No            Grupo         VIAJES EJECUTIVOS MUNDIALES      0.00         0.00          0.00      1,118,672.02    1,118,672.02 CRC         Yes
                                                       Aeroméxico,      SA
            Date Filed:   1/15/2021                   S.A.B. de C.V.    AV CENTRAL Y SEGUNDA CALLE
                                                                        34 EDIF VEMSA
      Modified Claim        20448                      Aerovías de      SAN JOSE, SJ 668-1005            0.00         0.00          0.00        1,929.92        1,929.92 USD           Yes
                                                      México, S.A. de   COSTA RICA
                                                          C.V.

183                         20222           No            Grupo         VIAJES PRESSTOUR ESPANA SA       0.00         0.00          0.00        5,781.30        5,781.30 EUR           No
                                                       Aeroméxico,      CALLE AYALA
            Date Filed:   1/11/2021                   S.A.B. de C.V.    83
                                                                        MADRID 28006
      Modified Claim        20222                      Aerovías de      SPAIN                            0.00         0.00          0.00        6,480.26        6,480.26 USD           No
                                                      México, S.A. de
                                                          C.V.

184                         12314           No            Grupo         VIBRANT LIVE ECHOSOUND INC /     0.00         0.00          0.00        6,613.50        6,613.50 CAD           No
                                                       Aeroméxico,      ALDO ORTIZ
            Date Filed:    1/9/2021                   S.A.B. de C.V.    914-25 COLE ST
                                                                        TORONTO ON M5A 4M3
      Modified Claim        12314                      Aerovías de      CANADA                           0.00         0.00          0.00        4,802.68        4,802.68 USD           No
                                                      México, S.A. de
                                                          C.V.

185                         10344           No            Grupo         VOLLAND, JOACHIM                 0.00         0.00          0.00         408.85          408.85 EUR            No
                                                       Aeroméxico,      FRIEDRICH-LIST-STR 32
            Date Filed:   12/10/2020                  S.A.B. de C.V.    OSTFILDERN, 73760
                                                                        GERMANY
      Modified Claim        10344                      Aerovías de                                       0.00         0.00          0.00         458.28          458.28 USD            No
                                                      México, S.A. de
                                                          C.V.

186                         14417           No            Grupo         VOSSENAAR, MICHELLE              0.00         0.00          0.00         507.98          507.98 EUR            No
                                                       Aeroméxico,      BOSMANWEG 10
            Date Filed:   1/15/2021                   S.A.B. de C.V.    HENGELO 7553MK
                                                                        THE NETHERLANDS
      Modified Claim        14417                      Aerovías de                                       0.00         0.00          0.00         569.39          569.39 USD            No
                                                      México, S.A. de
                                                          C.V.




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                                                                                     Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant   Secured   Administrative   Priority    Unsecured            Total         Unliquidated
187                         14697           No            Grupo         VOUTYRAS, SAVVAS                 0.00         0.00          0.00       1,065.32        1,065.32 EUR           No
                                                       Aeroméxico,      FLAT 18 EDMONDSHAM HOUSE
            Date Filed:   1/16/2021                   S.A.B. de C.V.    TERRACE ROAD
                                                                        BOURNEMOUTH BH2 5NJ
      Modified Claim        14697                      Aerovías de      UNITED KINGDOM                   0.00         0.00          0.00       1,194.12        1,194.12 USD           No
                                                      México, S.A. de
                                                          C.V.

188                         20232           No            Grupo         VOYAGES TAKE OFF                 0.00         0.00          0.00        525.00          525.00 EUR            No
                                                       Aeroméxico,      4 RUE D ALESIA
            Date Filed:   1/12/2021                   S.A.B. de C.V.    PARIS 75014
                                                                        FRANCE
      Modified Claim        20232                      Aerovías de                                       0.00         0.00          0.00        588.47          588.47 USD            No
                                                      México, S.A. de
                                                          C.V.

189                         10345           No            Grupo         WETTSTEIN, LUKAS                 0.00         0.00          0.00        459.06          459.06 CAD            No
                                                       Aeroméxico,      5129 DROLET
            Date Filed:   12/10/2020                  S.A.B. de C.V.    MONTREAL QC H2T 2H3
                                                                        CANADA
      Modified Claim        10345                      Aerovías de                                       0.00         0.00          0.00        333.37          333.37 USD            No
                                                      México, S.A. de
                                                          C.V.

190                         14775           No            Grupo         WIDMER, ANDRE                    0.00         0.00          0.00       1,656.20        1,656.20 EUR           No
                                                       Aeroméxico,      KURSTRASSE 36
            Date Filed:   2/14/2021                   S.A.B. de C.V.    AUSW. AMT / SAN JOSE
                                                                        BERLIN 10117
      Modified Claim        14775                      Aerovías de      GERMANY                          0.00         0.00          0.00       1,856.43        1,856.43 USD           No
                                                      México, S.A. de
                                                          C.V.

191                         10455           No            Grupo         WIEBE, NATHAN                    0.00         0.00          0.00       1,118.94        1,118.94 CAD           No
                                                       Aeroméxico,      4110 MOUNTAIN HIGHWAY
            Date Filed:   12/14/2020                  S.A.B. de C.V.    NORTH VANCOUVER BC V7K 2J8
                                                                        CANADA
      Modified Claim        10455                      Aerovías de                                       0.00         0.00          0.00        812.57          812.57 USD            No
                                                      México, S.A. de
                                                          C.V.

192                         10374           No            Grupo         WILSON, DOMINIQUE                0.00         0.00          0.00       2,988.75         2,988.75 GBP          No
                                                       Aeroméxico,      258B CRYSTAL PALACE RD
            Date Filed:   12/11/2020                  S.A.B. de C.V.    LONDON, SE22 9JH
                                                                        UNITED KINGDOM
      Modified Claim        10374                      Aerovías de                                       0.00         0.00          0.00       3,667.34        3,667.34 USD           No
                                                      México, S.A. de
                                                          C.V.




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                                                                                       Wrong Debtor Claims

Ref                        Claim #      Transferred      Debtor         Name and Address of Claimant     Secured   Administrative   Priority    Unsecured             Total         Unliquidated
193                         10575           No            Grupo         WONG, SALLY                        0.00         0.00          0.00        993.82           993.82 CAD            No
                                                       Aeroméxico,      7139 ADERA ST
            Date Filed:   12/20/2020                  S.A.B. de C.V.    VANCOUVER BC V6P 5C5
                                                                        CANADA
      Modified Claim        10575                      Aerovías de                                         0.00         0.00          0.00         721.71          721.71 USD            No
                                                      México, S.A. de
                                                          C.V.

194                         12184           No            Grupo         WOOD, ALAIN                        0.00         0.00          0.00         795.88          795.88 CAD            Yes
                                                       Aeroméxico,      6525 RICHER DR
            Date Filed:    1/8/2021                   S.A.B. de C.V.    OTTAWA ON K1C 4M7
                                                                        CANADA
      Modified Claim        12184                      Aerovías de                                         0.00         0.00          0.00         577.96          577.96 USD            Yes
                                                      México, S.A. de
                                                          C.V.

195                         10621           No            Grupo         YOON, HAEMI                        0.00         0.00          0.00      2,640,600.00       2,640,600.00          No
                                                       Aeroméxico,      506-304, GYEONGI-RO 333,                                                                      KRW
            Date Filed:   12/23/2020                  S.A.B. de C.V.    ILSANDONG-GU,
                                                                        GOYANG-SI, GYEONGGI-DO 10417
      Modified Claim        10621                      Aerovías de      REPUBLIC OF KOREA                  0.00         0.00          0.00        2,198.31        2,198.31 USD           No
                                                      México, S.A. de
                                                          C.V.

196                         14150           No            Grupo         YOUNG, CAMERON                     0.00         0.00          0.00        3,503.12        3,503.12 CAD           No
                                                       Aeroméxico,      1898 THIRD AVE
            Date Filed:   1/14/2021                   S.A.B. de C.V.    PRINCE GEORGE BC V2M 7E2
                                                                        CANADA
      Modified Claim        14150                      Aerovías de                                         0.00         0.00          0.00        2,543.94        2,543.94 USD           No
                                                      México, S.A. de
                                                          C.V.

197                         14137           No            Grupo         YUN, XIANG                         0.00         0.00          0.00         628.62          628.62 CAD            No
                                                       Aeroméxico,      556-6288 NO 3 RD
            Date Filed:   1/14/2021                   S.A.B. de C.V.    RICHMOND BC V6Y 0J4
                                                                        CANADA
      Modified Claim        14137                      Aerovías de                                         0.00         0.00          0.00         456.50          456.50 USD            No
                                                      México, S.A. de
                                                          C.V.

198                         13804           No            Grupo         ZUBIZARRETA, PELLO                 0.00         0.00          0.00         389.17          389.17 EUR            No
                                                       Aeroméxico,      LOPE DE IRIGOYEN KALEA, 31, 4B
            Date Filed:   1/14/2021                   S.A.B. de C.V.    IRUN 20301
                                                                        SPAIN
      Modified Claim        13804                      Aerovías de                                         0.00         0.00          0.00         436.22          436.22 USD            No
                                                      México, S.A. de
                                                          C.V.




                                                                                                                                                                                        Page 33
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                                                                          Schedule                               In re: GRUPO AEROMEXICO, S.A.B. de C.V., et al.
                                                                                                                      Case No 20-11563 (SCC) Jointly Administered

                                                                    Wrong Debtor Claims


                            Reduced Claim Totals   Count:     AUD        3         0.00        0.00       0.00      3,988.00          3,988.00
                                                              BRL        1         0.00        0.00       0.00      3,892.13          3,892.13
                                                              CAD        70        0.00        0.00       0.00     100,976.98        100,976.98
                                                              CHF        1         0.00        0.00       0.00      4,198.97          4,198.97
                                                              CRC        1         0.00        0.00       0.00    1,118,672.02      1,118,672.02
                                                              EUR        99        0.00        0.00       0.00     150,351.03        150,351.03
                                                              GBP        19        0.00        0.00       0.00     23,841.11         23,841.11
                                                              HKD        1         0.00        0.00       0.00      8,558.00          8,558.00
                                                              KRW        2         0.00        0.00       0.00    3,252,600.00      3,252,600.00
                                                              TWD        1         0.00        0.00       0.00     97,857.00         97,857.00




                                                                                                                                                         Page 34
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                             Exhibit 2 to Objection

                               Sánchez Declaration
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                              Chapter 11

GRUPO AEROMÉXICO, S.A.B. de C.V., et al.,                           Case No. 20-11563 (SCC)

                      Debtors.1                                     (Jointly Administered)


    DECLARATION OF RICARDO JAVIER SÁNCHEZ BAKER IN SUPPORT OF THE
    DEBTORS’ ELEVENTH OMNIBUS CLAIMS OBJECTION TO PROOFS OF CLAIM
             (FOREIGN CURRENCY AND WRONG DEBTOR CLAIMS)

         I, Ricardo Javier Sánchez Baker, hereby declare that the following is true to the best of my

knowledge, information and belief:

                                                   Background

         1.       I am the Chief Financial Officer of Grupo Aeroméxico, S.A.B. de C.V. (“Grupo

Aeroméxico”), and its affiliates that are debtors and debtors in possession in these proceedings

(collectively, the “Debtors;” the Debtors collectively with their direct and indirect non-Debtor

subsidiaries, the “Company”). I have held several other positions at the Company since 2006,

including serving as advisor to the Chief Executive Officer and Director of Revenue Management. I

have been the chairman of the board of directors of the SABRE Corporation, a member of the SEAT

Technical Committee, and a member of the Aeromexpress, CECAM, and PLM boards of directors. I

have held various positions within the Federal Public Administration (Administración Pública

Federal), including deputy director general of public debt for the Ministry of Finance and Public

Credit in 2003 and 2005. I hold a bachelor’s degree in economics from the Universidad


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         The Debtors in these cases, along with each Debtor’s registration number in the applicable jurisdiction, are as
         follows: Grupo Aeroméxico, S.A.B. de C.V. 286676; Aerovías de México, S.A. de C.V. 108984; Aerolitoral,
         S.A. de C.V. 217315; and Aerovías Empresa de Cargo, S.A. de C.V. 437094-1. The Debtors’ corporate
         headquarters is located at Paseo de la Reforma No. 243, piso 25 Colonia Cuauhtémoc, Mexico City, C.P.
         06500.
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Iberoamericana, a diploma in finance from Instituto Tecnológico Autónomo de México, and

master’s and doctorate degrees in economics from the University of California, Los Angeles. I am

familiar with the day-to-day operations, business, and financial affairs of the Debtors.

       2.       I submitted the Declaration of Ricardo Javier Sánchez Baker in Support of the

Debtors’ Chapter 11 Petitions and First Day Pleadings [ECF No. 20] (the “Sánchez First Day

Declaration”). I make this declaration (the “Declaration”) in support of the Debtors’ Eleventh

Omnibus Claims Objection to Proofs of Claim (Foreign Currency and Wrong Debtor Claims) (the

“Objection”). I have reviewed the Objection or have otherwise had its contents explained to me,

and the Objection is, to the best of my knowledge, accurate.

       3.       Except as otherwise indicated, all facts set forth in the Objection and this Declaration

are based upon my personal knowledge, my review of relevant documents, information provided to

me by employees working under my supervision, or my opinion based upon experience, knowledge,

and information concerning the operations of the Debtors and the aviation industry as a whole. If I

were called upon to testify, I could and would testify to each of the facts set forth herein.

       4.       I am generally familiar with the Debtors’ day-to-day operations, financing

arrangements, business affairs, and Books and Records2 that reflect, among other things, the

Debtors’ liabilities, and the amount thereof owed to their creditors as of the Petition Date. I have

read the Objection and corresponding Proposed Order, each filed contemporaneously herewith.

       5.       To the best of my knowledge, information, and belief, the assertions made in the

Objection are accurate. In evaluating the Claims, the Debtors and other reviewing parties have

reviewed the Debtors’ Books and Records, the relevant Proofs of Claim, as well as the supporting

documentation provided by the claimants, and determined that the Foreign Currency Claims and

2
       Each capitalized term used herein but not otherwise defined herein shall have the meaning ascribed to it in the
       Objection.


                                                         2
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Wrong Debtor Claims should each be modified as set forth in the Objection and Proposed Order. I

believe the modification of the claims listed on Schedule 1 and Schedule 2 to the Proposed Order on

the terms set forth in the Objection and Proposed Order is appropriate.

                                    Foreign Currency Claims

       6.      To the best of my knowledge, information, and belief, based on the Debtors’ review

of the Claims Register, the Books and Records, and each Foreign Currency Claim, the Debtors have

determined that the Foreign Currency Claims have each been asserted in a currency other than

United States dollars or Mexican pesos. If the Foreign Currency Claims identified on Schedule 1 to

the Proposed Order are not converted to United States dollars, the Claims Register will not reflect

the proper amounts for such Claims. Accordingly, I believe it is proper for the Court to enter the

Proposed Order modifying the Foreign Currency Claims as set forth therein and in the Objection.

                                     Wrong Debtor Claims

       7.      To the best of my knowledge, information, and belief, based on the Debtors’ review

of the Claims Register and each Wrong Debtor Claim, the Debtors have determined that the Wrong

Debtor Claims have each been filed against the wrong Debtor(s). If the Wrong Debtor Claims

identified on Schedule 2 to the Proposed Order are not modified, the claimants identified therein

may improperly receive recoveries on a claim against the incorrect Debtor. Accordingly, I believe it

is proper for the Court to enter the Proposed Order modifying the Wrong Debtor Claims as set forth

therein and in the Objection.

                                            Conclusion

       8.      I am authorized to submit this Declaration on behalf of the Debtors. In my opinion,

and for the reasons set forth in this Declaration and in the Objection, modifying the Foreign

Currency Claims and Wrong Debtor is in the best interest of the Debtors’ estates.



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       9.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States that, to the best of my knowledge and after reasonable inquiry, the foregoing is true

and correct.

       Executed: July 8, 2021

                                                By: /s/ Ricardo Javier Sánchez Baker
                                                    Ricardo Javier Sánchez Baker
                                                    Chief Financial Officer




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                                    Exhibit B

                     Omnibus Claims Hearing Procedures
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                                 Chapter 11

GRUPO AEROMÉXICO, S.A.B. de C.V., et al.,                              Case No. 20-11563 (SCC)

                  Debtors.1                                            (Jointly Administered)



              COURT-ORDERED OMNIBUS CLAIMS HEARING PROCEDURES

         The Omnibus Claims Hearing Procedures (the “Omnibus Claims Hearing Procedures”)

described herein have been ordered by the United States Bankruptcy Court for the Southern District

of New York (the “Court”) to apply to the chapter 11 cases of Grupo Aeroméxico, S.A.B. de C.V.

and its affiliated debtors.

                                   Omnibus Claims Hearing Procedures

         1.       Pursuant to the Order Establishing Certain Notice, Case Management, and

Administrative Procedures, entered on July 8, 2020 [ECF No. 79] (the “Case Management

Order”), the Court established periodic omnibus hearings (the “Omnibus Hearings”) in these

cases. The Debtors shall schedule the return date for claims objections, omnibus or otherwise, for

hearing at Omnibus Hearings or other hearings the Debtors may schedule with the Court.

         2.       The Court may enter an order at the scheduled hearing sustaining an objection to

proofs of claim (each, a “Proof of Claim”) with respect to which no response (a “Response”)2 is


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         The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
         jurisdiction, are as follows: Grupo Aeroméxico, S.A.B. de C.V. 286676; Aerovías de México, S.A. de C.V.
         108984; Aerolitoral, S.A. de C.V. 217315; and Aerovías Empresa de Cargo, S.A. de C.V. 437094-1. The
         Debtors’ corporate headquarters is located at Paseo de la Reforma No. 243, piso 25 Colonia Cuauhtémoc,
         Mexico City, C.P. 06500.
2
         Any information submitted in connection with a Proof of Claim shall be part of the record with respect to the
         relevant Claim, and any such information already submitted need not be resubmitted in connection with the
         Omnibus Claims Hearing Procedures.
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properly filed and served or pursuant to a certificate of no objection in accordance with the Case

Management Order.

       3.      The hearing to consider an objection to Proofs of Claim as to which a Response is

properly filed and served (each, a “Contested Claim”) shall be set for a contested hearing (each, an

“Omnibus Claims Hearing”) to be scheduled by the Debtors, in their discretion, as set forth herein.

       4.      The Debtors shall schedule an Omnibus Claims Hearing for a Contested Claim as

follows:

               A.       For a non-evidentiary hearing to address whether the Contested Claim has
                        failed to state a claim against the Debtors that can be allowed and should be
                        dismissed pursuant to Bankruptcy Rule 7012 (a “Sufficiency Hearing”),
                        unless the Debtors serve the claimant with a Notice of Merits Hearing (as
                        defined herein), the Sufficiency Hearing shall go forward at the return date
                        set in accordance with paragraph 1 of these Omnibus Claims Hearing
                        Procedures. The legal standard of review that will be applied by the Court at
                        a Sufficiency Hearing will be equivalent to the standard applied by the Court
                        upon a motion to dismiss for failure to state a claim upon which relief can be
                        granted.

               B.       For an evidentiary hearing on the merits of a Contested Claim (a “Merits
                        Hearing”), the Debtors may, in their discretion, serve upon the relevant
                        claimant, by email or overnight delivery, with a copy to the Official
                        Committee of Unsecured Creditors, Apollo Management Holdings, L.P., and
                        the Ad Hoc Group of Senior Noteholders,3 and file with the Court, a notice
                        substantially in the form attached to the Claims Objections Procedures Order
                        as Exhibit 2 (a “Notice of Merits Hearing”) at least thirty (30) calendar
                        days prior to the date of such Merits Hearing. The rules and procedures
                        applicable to such Merits Hearing will be set forth in a scheduling order
                        issued by the Court in connection therewith.

       5.      Discovery with respect to a Contested Claim will not be permitted until either (a) the

Court has held a Sufficiency Hearing and determined that the Contested Claim states a claim that

could be allowed and should not be dismissed pursuant to Bankruptcy Rule 7012 or (b) the Debtors

have served on the relevant claimant a Notice of Merits Hearing with respect to the Contested Claim.

3
       As identified in the Verified Statement of the Ad Hoc Group of Senior Noteholders Pursuant to Bankruptcy
       Rule 2019 [ECF No. 390].


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       6.      The Debtors may file and serve a reply (a “Reply”) to a Response no later than

4:00 p.m., prevailing Eastern Time, on the day that is two (2) calendar days prior to the date of the

applicable hearing (which may fall on a Saturday, Sunday, or legal holiday notwithstanding

Bankruptcy Rule 9006 or equivalent provisions).

       7.      The Debtors, in their discretion, are authorized to adjourn a hearing scheduled in

accordance herewith at any time by providing notice to the Court and the claimants.




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